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                                UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                             :
                                                     :
                  v.                                 :        Case No. 21-cr-134-CJN
                                                     :
MARK SAHADY,                                         :
                          Defendant.                 :

  UNITED STATES’ OPPOSITION TO THE DEFENDANT’S MOTION TO COMPEL
    DISCOVERY IN SUPPORT OF HIS CLAIM OF SELECTIVE PROSECUTION

        The United States of America respectfully opposes Defendant Sahady’s Motion to Compel

Discovery in Support of His Claim of Selective Prosecution. 1 Sahady seeks discovery on his claim

that the government selectively targeted him for prosecution due to his political beliefs. Because

Sahady’s motion does not satisfy the rigorous standard for discovery in this setting, the Court

should deny it.

        A similar discovery request remains pending in United States v. Garret Miller, No. 21-cr-

119-CJN (D.D.C.). This Court conducted a motions hearing on November 22, 2021, and informed

the parties that it would issue a written order. The Court’s order in Miller may accordingly affect

the resolution of Sahady’s motion.

                                             Factual Background

        Sahady is charged by Information with Entering and Remaining in a Restricted Building

or Grounds, in violation of 18 U.S.C. § 1752(a)(1)); Disorderly and Disruptive Conduct in a



        1
           Sahady filed a one-page Motion to Adopt, Conform and Supplement Motion to Compel Discovery Pertinent
to Selective Prosecution, Doc. 29, referencing a filing made by a different defendant, David Lee Judd, in a different
case, United States v. David Lee Judd, No. 21-cr-40-TNM (D.D.C.). In this filing, the government adopts its arguments
made in opposition to Judd’s motion (which is appended to this pleading) and further notes significant factual
differences that render Judd’s arguments inapposite to Sahady.
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Restricted Building or Grounds, in violation 18 U.S.C. § 1752(a)(2)); and Disorderly Conduct in

a Capitol Building, in violation of 40 U.S.C. § 5104(e)(2)(D)). Doc. 9. These charges stem from

his conduct at the U.S. Capitol on January 6, 2021.

I.     Breach of the U.S. Capitol on January 6, 2021

       The U.S. Capitol is secured with permanent and temporary barriers and posts manned by

U.S. Capitol Police. Only authorized people with appropriate identification are allowed access. On

January 6, 2021, the exterior plaza was also closed to the public.

       At 1:00 p.m. on January 6, 2021, a joint session of Congress convened to certify the vote

count of the Electoral College of the 2020 Presidential Election. Shortly thereafter, the House and

Senate adjourned to separate chambers to resolve an objection. Vice President Mike Pence

presided, first in the joint session, and then in the Senate chamber. During these proceedings, a

large crowd gathered outside. The U.S. Capitol Police attempted to maintain order and keep the

crowd from entering the Capitol; however, around 2:00 p.m., individuals forced entry by breaking

windows and by assaulting police officers, as others encouraged and assisted those acts.

       At approximately 2:20 p.m., House and Senate members and Vice President Pence were

instructed to—and did—evacuate the chambers. The joint session was suspended until shortly after

8:00 p.m. Vice President Pence remained in the Capitol during this period. Video footage from

media organizations and individuals on the scene depicted scores of individuals inside the Capitol

building without authority.

II.    Sahady’s Participation in the Breach

       Sahady is the vice president of an organization called “Super Happy Fun America.” Law

enforcement located the Sahady’s Twitter account under the name “Mark Shady.” The account


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contains multiple statements that the 2020 election was stolen and that people needed to gather in

D.C. on January 6, 2021:

   a. On November 16, 2020, Sahady wrote that he was glad to be in D.C. the prior weekend
      and that if Joe Biden won, he wanted to plan a rally to “oppose” Biden and “send a
      message” against tyranny.

   b. On December 20, 2020, Sahady posted that “it is important that millions of Americans
      show up in DC on January 6 to support the legitimate President, Donald Trump, and show
      Democrats what they will be facing if they continue to try and steal the Presidency.”

   c. When someone asked about transportation, Sahady responded on December 31, 2020 that
      “we have 7 buses coming.” and that there is more space.

   d. Sahady posted on January 4, 2021: “January 6 – Washington, DC – It begins.”

       Law enforcement also identified a Twitter account for Super Happy Fun America. A

photograph posted on January 5, 2021 shows Sahady and other individuals traveling by bus to

D.C. with their thumbs up.




       Following the Capitol breach, individuals and media organizations posted photographs of

the crowd. One photograph shows Sahady (in the bottom-right corner) standing in the Capitol

building wearing a red and blue hat:

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       Video footage shows Sahady outside the Capitol, traveling up the steps to a fire door near

the Senate Parliamentarian’s office, entering and trespassing through the Capitol halls, and in front

of a line of law-enforcement officers.

                                            Argument

       Although Sahady alleges a selective-prosecution claim, his one-page motion presents no

argument or discussion supporting that contention. Rather, Sahady cursorily adopts a motion for

selective-prosecution discovery filed in a different case—United States v. David Lee Judd, No. 21-

cr-40 (D.D.C.) (Doc. 138)—on the apparent belief that anyone charged for any offense arising

from the events of January 6, 2021 has been the targeted based on his political beliefs. This

superficial effort fails to satisfy the Supreme Court’s rigorous standard for selective-prosecution

discovery. Sahady’s motion should therefore be denied.




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I.     A defendant must make a “rigorous” showing on each element of selective
       prosecution before he can obtain discovery on the issue.

       Because “[t]he Attorney General and United States Attorneys retain broad discretion to

enforce the Nation’s criminal laws,” a “presumption of regularity supports their prosecutorial

decisions and, in the absence of clear evidence to the contrary, courts presume that they have

properly discharged their duties.” United States v. Armstrong, 517 U.S. 456, 464 (1996) (internal

quotation marks and citations omitted). This presumption “rests in part on an assessment of the

relative competence of prosecutors and courts.” Id. at 465. “Such factors as the strength of the

case, the prosecution’s general deterrence value, the Government’s enforcement priorities, and the

case’s relationship to the Government’s overall enforcement plan are not readily susceptible to the

kind of analysis the courts are competent to undertake.” Ibid. (citation omitted). “Few subjects are

less adapted to judicial review than the exercise by the Executive of his discretion in deciding

when and whether to institute criminal proceedings, or what precise charge shall be made, or

whether to dismiss a proceeding once brought.” United States v. Fokker Servs. B.V., 818 F.3d 733,

741 (D.C. Cir. 2016) (cleaned up). So “the presumption of regularity” applies to “prosecutorial

decisions and, in the absence of clear evidence to the contrary, courts presume that prosecutors

have properly discharged their official duties.” Id. As a result, “[i]n the ordinary case, so long as

the prosecutor has probable cause to believe that the accused committed an offense defined by

statute, the decision whether or not to prosecute, and what charge to file or bring before a grand

jury, generally rests entirely in his discretion.” Armstrong, 517 U.S. at 464.

       This presumption of regularity “also stems from a concern not to unnecessarily impair the

performance of a core executive constitutional function.” Armstrong, 517 U.S. at 465. To

overcome the presumption of regularity and obtain dismissal of the criminal charges, a defendant

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must present “clear evidence” that the government’s decision to prosecute was “based on an

unjustifiable standard such as race, religion, or other arbitrary classification.” Id. at 464-65

(citations omitted).

          Concerned that selective-prosecution inquiries “will divert prosecutors’ resources and may

disclose the Government’s prosecutorial strategy,” the Supreme Court has also imposed a

“correspondingly rigorous standard for discovery in aid of such a claim.” Armstrong, 517 U.S. at

468. The defendant must initially produce “some evidence tending to show the existence of the

essential elements of” selective prosecution, which are: “discriminatory effect and discriminatory

intent.” Ibid. (citation omitted). The defendant’s evidence must also be “credible”—something

more than “personal conclusions based on anecdotal evidence.” Id. at 470. “If either part of the

test is failed,” the defendant cannot “subject[] the Government to discovery.” Att’y Gen. of United

States v. Irish People, Inc., 684 F.2d 928, 947 (D.C. Cir. 1982); see also United States v. Lewis,

517 F.3d 20, 25 (1st Cir. 2008) (“[D]iscovery will not be allowed unless the defendant's evidence

supports each of the two furcula of his selective prosecution theory: failure on one branch dooms

the discovery motion as a whole”).

II.       Sahady fails to proffer any evidence supporting an inference of selective prosecution.

          Sahady has failed to make the threshold showing on either selective-prosecution element.

He has not presented any evidence suggesting “that (1) [he] was singled out for prosecution from

among others similarly situated and (2) that [his] prosecution was improperly motivated.” Branch

Ministries v. Rossotti, 211 F.3d 137, 144 (D.C. Cir. 2000) (quoting United States v. Washington,

705 F.2d 489, 494 (D.C. Cir. 1983)). “[T]he standard is a demanding one.” Armstrong, 517 U.S.

at 463.


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       A.      Sahady has not made a colorable showing that the government singled him out
               for prosecution.

       Sahady must first adduce evidence that “others similarly situated generally have not been

prosecuted for conduct similar to that for which he was prosecuted.” Irish People, Inc., 684 F.2d

at 946 (citation omitted). As a judge of this Court explained, an individual may be similarly situated

if he “committed the same basic crime in substantially the same manner as the defendant—so that

any prosecution of that individual would have the same deterrence value and would be related in

the same way to the Government’s enforcement priorities and enforcement plan—and against

whom the evidence was as strong or stronger than that against the defendant.” United States v.

Stone, 394 F. Supp. 3d 1, 31 (D.D.C. 2019) (quoting United States v. Smith, 231 F.3d 800, 810

(11th Cir. 2000)); see also United States v. Lewis, 517 F.3d 20, 27-28 (1st Cir. 2008) (“A similarly

situated offender is one outside the protected class who has committed roughly the same crime

under roughly the same circumstances but against whom the law has not been enforced. … A

multiplicity of factors legitimately may influence the government’s decision to prosecute one

individual but not another. These may include, inter alia, the comparability of the crimes, the

similarities in the manner in which the crimes were committed, the relative efficacy of each

prosecution as a deterrent, and the equivalency of the evidence against each prospective

defendant.”) (internal citations omitted).

       A selective-prosecution claim requires the defendant to identify “similarly situated”

individuals who “have not been prosecuted,” Irish People, Inc., 684 F.2d at 946 (citation omitted),

and Sahady has pointed to no such individual. Sahady instead references the selective-prosecution

motion in Judd, which cited 39 Oregon cases (from a sample of 74) where the government charged

the defendant with federal offenses arising from criminal conduct around the federal courthouse

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in Portland, Oregon and subsequently dismissed the charges, entered a deferred-prosecution

agreement, or acceded to the defendant’s guilty plea on reduced charges in many of those cases.

See Judd, No. 1:21-cr-40, Doc. 138 at 5. 2

        1.       This cursory effort fails because the offense conduct in this case and Judd are not

comparable. The government charged Judd with assaulting a federal officer with a dangerous

weapon, in violation of 18 U.S.C. § 111(b), because he ignited a firecracker inside a small tunnel

and threw it at officers guarding a Capitol entrance. In his selective-prosecution motion, Judd

contended that the government failed to pursue felony Section 111(b) charges against individuals

who assaulted officers around the Portland, Oregon federal courthouse in May and June 2020.

Judd then cataloged instances where several defendants faced only misdemeanor charges. See

Judd, No. 1:21-cr-40, Doc. 138, at 4-5. 3

        In this case, by contrast, the government has not charged Sahady with felony violations of

18 U.S.C. § 111(b). It has instead charged him with misdemeanor trespassing and disorderly-

conduct offenses arising from his presence in the U.S. Capitol on January 6, 2021. Sahady’s

charged conduct is not thus comparable to the Oregon cases cited in Judd, which explains why the

government has charged less severe offenses here.

        The foundation undergirding the selective-prosecution allegation in Judd—the purportedly

disparate felony/misdemeanor charges for Oregon and D.C. defendants who assaulted federal law-



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          Judd’s motion further references the docket for four of these cases, and one case in D.C. Superior Court,
where, in his view, the defendant’s alleged conduct mirrored his actions on January 6, 2021. See Judd, No. 21-cr-40,
Doc. 138 at 4-6.
        3
          In his reply brief, Judd raised a new set of cases stemming from criminal activity in Washington, D.C.
during Summer 2020 involving felony civil-disorder offenses and assaults committed in Summer 2020 in proximity
to various Washington, D.C. protest activities. The government’s surreply documented the flaws in Judd’s new
comparison. See Judd, No. 21-cr-40 (Doc. 163 at 2-4).
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enforcement officers—is absent in Sahady’s case. As a consequence, Sahady cannot borrow the

arguments in Judd to satisfy his threshold burden under Armstrong’s first element.

         2.       Even assuming some of Oregon defendants discussed in the Judd pleadings

committed misdemeanor offenses for which they were not charged, those defendants serve as

improper “comparator[s]” because they and Sahady are not similarly situated. Stone, 394 F. Supp.

3d at 31. The cited Oregon defendants—despite committing serious offenses—never entered the

federal courthouse structure or impeded an official proceeding. Sahady, by contrast, entered the

Capitol building while elected lawmakers and the Vice President were present and attempting to

certify the results of the 2020 Presidential Election.

         These situational differences represent “distinguishable legitimate prosecutorial factors

that might justify making different prosecutorial decisions” in Sahady’s case. Branch Ministries,

211 F.3d at 145 (quoting United States v. Hastings, 126 F.3d 310, 315 (4th Cir. 1997)); see also

Price v. U.S. Dep’t of Justice, 865 F.3d 676, 681 (D.C. Cir. 2017) (observing that a prosecutor

may legitimately consider “concerns such as rehabilitation, allocation of criminal justice resources,

the strength of the evidence against the defendant, and the extent of a defendant’s cooperation” in

plea negotiations) (brackets and citation omitted).

         Multiple decisions from this jurisdiction have documented the sui generis nature of the

criminal conduct committed by Sahady and others on January 6, 2021. 4 At a recent sentencing


         4
           The D.C. Circuit has observed that “the violent breach of the Capitol on January 6 was a grave danger to
our democracy.” United States v. Munchel, 991 F.3d 1273, 1284 (D.C. Cir.). Indeed, judges of this Court have noted
the same. See United States v. Timothy Lous Hale-Cusanelli, 21-cr-37, (D.D.C. Mar 23, 2021) (Hrg. Tr. at 24)
(“Obviously, the January 6th riot was a serious and sui generis threat to our country’s body politic.”). Other members
of this Court have similarly described it as “a singular and chilling event in U.S. history, raising legitimate concern
about the security—not only of the Capitol building—but of our democracy itself.” United States v. Cha, No. 21-cr-
107, 2021 WL 918255, at *3 (D.D.C. Mar. 10, 2021); see also United States v. Fox, No. 21-cr-108 (D.D.C. Jun. 30,
2021) (Doc. 41, Hrg. Tr. at 14) (“This is not rhetorical flourish. This reflects the concern of my colleagues and myself
for what we view as an incredibly dangerous and disturbing attack on a free electoral system.”); United States v.
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hearing, this Court observed that “there are not many comparable cases” “outside of the universe

of the January 6th cases.” United States v. Thomas Gallgher, 21-cr-41-CJN (D.D.C.) (Doc. 107 at

37). The Court further explained that the Capitol Breach should not be likened to a run-of-the-mill

public-order disturbance: “Convictions for protests or riots in other places and at other times

understate the severity of the events taking place at the Capitol.” Id. at 37-38 (emphasis added).

        This Court further documented the aggravated features the Capitol Breach—several of

which apply to Sahady’s conduct: “Many of the rioters entered the Capitol for the express purpose

of interrupting [the electoral certification] proceedings”; “[m]any of those rioters engaged in

planning efforts, before January 6th, suggesting that they intended to engage in violence on that

day”; and “many of those rioters expressed glee and pride after the fact for having actively

participated in those events.” Id. at 33. Such conduct, the Court explained, “throws our entire

system of government into disarray, and it undermines the stability of our society.” Id. at 37.

        These observations confirm that the actions taken by Sahady and others on January 6 differ

in kind and in degree from any of the Oregon cases cited in the Judd pleadings. Sahady was part

of a mob who traveled to the Capitol grounds, breached the Capitol building with the goal of

impeding congressional certification of the 2020 Presidential Election. Indeed, he is one of more

than 600 defendants already charged for participating in the riot, and he does not suggest that he

has been treated differently from any other members of this class.

        3.       The government’s opposition and surreply in Judd document the many other factual

flaws and legal deficiencies in the selective-prosecution motion filed there. The government




Chrestman, No. 21-mj-218, 2021 WL 765662, at *7 (D.D.C. Feb. 26, 2021) (“The actions of this violent mob,
particularly those members who breached police lines and gained entry to the Capitol, are reprehensible as offenses
against morality, civic virtue, and the rule of law.”).
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incorporates those pleadings—attached as an appendix to this opposition—by reference. See Judd,

No. 21-cr-40 (Doc. 154 & 163).

       For these reasons, Sahady’s effort to borrow the defense presentation in Judd lacks merit.

Given the absence of colorable evidence that the government singled him out for prosecution,

Sahady’s discovery request fails at Armstrong’s first step.

       B.      Sahady has not made a colorable showing that the government harbored an
               improper motive in prosecuting him.

       With respect to Armstrong’s second prong, Sahady has failed to adduce any evidence that

improper motives undergird this prosecution. And, as above, Sahady’s cursory adoption of the

Judd motion is insufficient.

       In his motion, Judd intimated that the government accepted favorable dispositions in some

of the Oregon cases, but withheld a similar plea offer in his case because he espouses political

views that the government disfavors. See Judd, No. 1:21-cr-40, Doc. 138 at 157 (“[These

dismissals and resolutions have occurred under the same Democratic administration that continues

to prosecute Mr. Judd.”). But Judd presented no evidence linking any Oregon defendant to a

particular political viewpoint. See Judd, No. 1:21-cr-40 (Doc. 154 at 22-23). Stripped to its core,

Judd relied on rank conjecture in suggesting that political favoritism has guided the government’s

charging and plea decisions. That is not enough to warrant discovery; “a defendant must provide

something more than mere speculation or ‘personal conclusions’” of selective prosecution. Stone,

394 F. Supp. 3d at 31 (quoting Armstrong, 517 U.S. at 470).

       Because Judd adduced no evidence that the government initiated these charges in response

to his political views, he failed his burden on Armstrong’s second element. Sahady’s motion in

this case, by extension, likewise fails. The U.S. Attorney for the District of Columbia—as an

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officer of this Court—further represents that such a consideration plays no role in his office’s

charging decisions in either case.

                                           Conclusion

       Because Sahady has failed to carry his burden, he is not entitled to discovery and his motion

should be denied.

                                             Respectfully submitted,

                                             MATTHEW M. GRAVES
                                             United States Attorney
                                             D.C. Bar No. 481052

                                             By: _____/s/ Stuart Allen_____________________
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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                )
                                        )
             v.                         )       1:21CR40-TNM
                                        )
DAVID LEE JUDD                          )


       Motion to Compel Discovery in Support of Mr. Judd’s Claim of
                         Selective Prosecution

      Unfortunately, in recent years, crowds have attempted to breach federal

buildings in protests across the country. These incidents have caused significant

destruction of property, disruption of federal business, physical injury, and,

tragically, loss of life. In prosecuting the suspects in each instance, the federal

government has created significant disparities in charges and outcomes.

      Mr. Judd does not yet contend the allegations below are sufficient for dismissal

of the charges against him. However, they are sufficient for the Court to compel

specific discovery regarding disparities in charging decisions.

      I. BACKGROUND

             A. David Lee Judd

      The government has charged Mr. Judd in a nine-count indictment based on his

alleged conduct outside the United States Capitol on January 6, 2021. ECF no. 37.

Of course, on that date, a large group of protestors gathered on the Capitol grounds.

Eventually a substantial number – though not Mr. Judd – breached and entered the

Capitol building.



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        The most serious charge against Mr. Judd is 18 U.S.C. § 111(b), assaulting,

resisting or impeding certain officers using a dangerous weapon. ECF no. 37. The

government alleges that Mr. Judd threw a small firecracker in the direction of Capitol

police officers. The government does not allege that Mr. Judd caused injury to any

officers or even that the alleged firecracker activated, but nonetheless classified the

object as a dangerous weapon for the purposes of the § 111(b) penalty enhancement.

        Most of the January 6 defendants were vocal supporters of then-President

Donald Trump, a Republican, and were protesting Congress’s certification of

Democrat Joseph Biden Jr. as the winner of the November presidential election.

Many individuals – though not Mr. Judd – then breached the Capitol building with

the intent of interrupting Congress’s certification of the election results. Mr. Judd

and the rest of the January 6 defendants are being prosecuted by a Democratic

administration.

        Based on the charging decisions and outcomes sought by the government in

Mr. Judd’s case, Mr. Judd believes he has a colorable claim of selective prosecution

when contrasted with the government’s charging and prosecutorial decision-making

in violent riots in Portland, Oregon in 2020 as well as at least one D.C. riot case in

2020.

              B. Portland Riots

        In the summer of 2020, protestors descended on the Federal Courthouse in

downtown Portland, Oregon. The groups gathered to protest the killing of George

Floyd by police officers in Minnesota. While the protest was less organized around a




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candidate than that of January 6, one local newspaper found common threads of

advocacy for “racial justice and police accountability.” 1 While neither issue strictly

follows party lines, both are currently more closely associated with the Democratic

Party. 2 Then-President Trump voiced his support of such an association through

Twitter, “The FBI and Law Enforcement must focus their energy on ANTIFA and the

Radical Left, those who have spent the summer trying to burn down poorly run

Democrat Cities throughout the USA!” 3

      According to the government, the protests in Portland:

      Were followed by nightly criminal activity in the form of vandalism,
      destruction of property, looting, arson, and assault. One violent event
      impacting federal property occurred on May 28, 2020, when the Portland
      Field Office for the Immigration and Customs Enforcement (ICE) was
      targeted by a Molotov cocktail. The Mark O Hatfield Courthouse has
      experienced significant damage to the façade, glass, and building
      fixtures during the weeks following this incident. Additionally, mounted
      building security cameras and access control devices have been
      vandalized or stolen. The most recent repair estimate for the damage at
      the Mark O. Hatfield Courthouse is in excess of $50,000. Other federal
      properties in the area routinely being vandalized include the historic
      Pioneer Federal Courthouse, the Gus Solomon Courthouse, and the
      Edith Green Wendall Wyatt Federal Office Building. FPS law
      enforcement officers, U.S. Marshal Service Deputies and other federal
      law enforcement officers working in the protection of the Mark O.


      1
         Ding, Jaimie, Portland Protests: Who turned out night after night?, The
Oregonian (May 30, 2021), available at:
https://www.oregonlive.com/news/2021/05/who-protested-night-after-night-in-
portland.html.
       2 For example, the “George Floyd Justice in Policing Act of 2021 passed the

House of Representative with 219 out of 221 Democrats voting in favor and 210 of
211 Republicans voting against. See Clerk, United States House of Representative,
Roll Call 60 – George Floyd Justice in Policing Act of 2021 (March 3, 2021), available
at: https://clerk.house.gov/Votes/202160.
       3 Here are President Trump’s 5 Tweets about Portland Today, The Oregonian

(Oct. 12, 2020), available at: https://www.oregonlive.com/politics/2020/10/here-are-
president-trumps-5-tweets-about-portland-today.html.

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          Hatfield Courthouse have been subjected to assault, threats, aerial
          fireworks including mortars, high intensity lasers targeting officer’s
          eyes, thrown rocks, bottles and balloons filled with paint, and vulgar
          language from demonstrators while performing their duties.

United States v. Bouchard, case no. 3:20-mj-00165 (D. Ore. July 24, 2020), ECF 1-1

at 4-5.

          One example of such damage occurred on July 24, 2020, when “protestors

attempted to breach into the Mark O. Hatfield Federal United States Courthouse

(USCH) by damaging and removing the protective fencing around the west entrances

of the USCH.” Id. at 5. The marshals and U.S. Customs and Border Protection (CBP)

deployed tactical teams to defend the breach. Id. After repeatedly defying verbal

commands to move back, one defendant “placed his right arm around the neck of CBP

officer 1 in headlock maneuver.” Id. at 6. When another officer came to “remove

[defendant’s] right arm from around the neck of Officer 1… all three individuals went

to the ground.” Id. At the time, the defendant “was carrying a leaf blower and a

shield.” Id.     In contrast to Mr. Judd, the defendant was only charged with a

misdemeanor, which the government eventually moved to dismiss without prejudice.

3:20-mj-00165, ECF no. 16.

          Another defendant “used a homemade shield to strike the officer in the face.”

United States v. Johnson, case no. 3:20-mj-00170 (D. Ore. July 27, 2020), ECF no. 1

at 5. A search of the suspect revealed an “extendable baton, OC spray, steel plated

body armor, helmet, individual first aid kid, shin guards, gas mask, goggles…” Id. at

6. This defendant was also only charged with a misdemeanor, which the government

subsequently moved to dismiss. 3:20-mj-00170, ECF no. 9.



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      A third defendant “struck DUSM VICTIM 1 in the face with a shield and then

punched DUSM Victim 1 in the face with a closed fist.” United States v. Webb, case

no. 3:20-mj-00169 (D. Ore. July 27, 2021) ECF no. 1 at 5. The defendant “resisted

arrest by pulling his arms away from the DUSMs in an attempt to avoid being

restrained.” Id. at 5-6. This defendant was also charged with only a misdemeanor,

which the government subsequently moved to dismiss. 3:20-mj-00169, ECF no. 22.

      After a review of the evidence, the government charged at least twenty-two

individuals in Portland with assaulting an officer, in violation of 18 U.S.C. 111(a).

See Attachment A, List of Portland Defendants and Outcomes. Of those identified by

counsel, at least 25 cases were dismissed, including one in which the defendant

carried a knapsack with 14 commercial-grade fireworks. Id. Of those cases, at least

six cases were dismissed with prejudice through a deferred resolution agreement. Id.

In other cases involving alleged acts of violence, the government agreed to

recommend probation. Id.

      These dismissals and resolutions have occurred under the same Democratic

administration that continues to prosecute Mr. Judd.

             C. Fireworks Cases

      Moreover, there have been multiple cases with similar factual circumstances

(i.e., fireworks were thrown at or towards police officers) where the government chose

to dismiss charges and/or declined to classify fireworks as dangerous weapons.

      One such defendant was charged in a one-count indictment with only 18 U.S.C.

231(a)(3) civil disorder despite allegedly igniting and throwing a large, cylindrical




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firework at a group of police officers. United States v. Fox, case no. 3:20-cr-00501 (D.

Ore. filed Oct. 20, 2020). 4 Notably, the maximum penalty for the civil disorder charge

is five years as compared to an enhanced penalty of up to 20 years for the § 111 charge

that Mr. Judd is facing based solely on the government’s characterization of the

firecracker as a dangerous weapon. 18 U.S.C. § 231(a)(3); 18 U.S.C. § 111(a).

      In one case in D.C. Superior Court, a defendant (the “D.C. Fireworks

Defendant”) was charged with felony assault on a police officer while armed and

misdemeanor rioting based on throwing a firework at police officers during a riot that

took place in D.C. between August 30-31, 2020. 5 United States v. Alanna Rogers, case

no. 2020 CF3 006970 (D.C. Super. Ct. dismissed Sept. 30, 2020). The M-80 style

firework thrown by Rogers allegedly burned an assistant chief’s pant leg.           Id.,

Affidavit in Support of an Arrest Warrant. All charges against the defendant were

dismissed without prejudice pursuant to a nolle prosequi submitted by the

government. Id., Government’s Notice of Nolle Prosequi.




      4
       ASTORIA MAN ACCUSED OF CIVIL DISORDER FOR THROWING A LARGE
CYLINDRICAL FIREWORK AT POLICE, U.S. Attorney’s Office District of Oregon (May
30, 2021), https://www.justice.gov/usao-or/pr/astoria-man-accused-civil-disorder-
throwing-large-cylindrical-firework-police.
      5 The riot was an anti-police protest that took place in D.C. around the “Black

Lives Matter Plaza.” 2020 CF3 006970, Affidavit in Support of an Arrest Warrant.

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II. DISCUSSION

      While the government has “broad discretion” in “enforc[ing] the Nation’s

criminal laws,” that discretion is, nevertheless, “subject to constitutional

constraints.” United States v. Armstrong, 517 U.S. 456, 465 (1996) (citations omitted).

“One of these constraints, imposed by the equal protection component of the Due

Process Clause of the Fifth Amendment” is that the government cannot pursue

criminal charges against a citizen that amounts to a “‘practical denial’ of equal

protection of law.” Id. (citations omitted). Such a pursuit would give rise to a claim

of “selective prosecution.” Id.

      The primary way in which discriminatory law enforcement can be exhibited

is using the prosecutorial prerogative itself to discriminate against those whose

constitutionally protected views or activities are not popular with the government

(selective prosecution). United States v. Banks, 368 F. Supp. 1245, 1251 (D.S.D.

1973). To show selective prosecution, a defendant must show that (1) the prosecution

had a discriminatory effect, and (2) that the prosecution was motivated by a

discriminatory purpose. Armstrong, 517 U.S. at 465.

      To establish a discriminatory effect, a defendant must show that “similarly

situated” individuals were not prosecuted. Id. Similarly situated requires “some

degree of commonality among the indictable group, such that the defendant

challenging his indictment may make a supportable demonstration that those

unindicted persons are, in fact, similarly situated, and consequently, there must be




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an improper motive behind the selected individual’s prosecution.” United States v.

Blackley, 986 F. Supp. 616, 619 (D.D.C. 1997).

      The defendant may establish discriminatory purpose either with direct

evidence of discriminatory intent or with statistical disparities or other indirect

evidence regarding the unequal application of the law. Branch Ministries, Inc. v.

Richardson, 970 F. Supp. 11, 17 (D.D.C. 1997).

      In order to proceed to either an evidentiary hearing or the production of

discovery, a defendant must establish “‘at least a colorable claim’” as to these two

prongs. Branch Ministries, 970 F. Supp. at 16.

      First, Mr. Judd is similarly situated to the individuals protesting the federal

courthouse in Portland and the D.C. Fireworks Defendant. In another January 6

case, the government has argued that the allegations are not comparable, citing

courts’ statements of the “sui generalis nature of this criminal conduct.” See U.S. v.

Miller, 1:21-cr-00119 (D.D.C. July 22, 2021, ECF no. 39 at 8-9. 6

      Of course, if the standard was whether defendants were “identically situated”,

Mr. Judd’s claim would fall short. However, the standard requires the individuals

simply be “similarly situated.” Both Mr. Judd and the above defendants were alleged

to have committed violence against federal officers in circumstances where a large

crowd was attempting to breach a federal building, and, in at least two instances,




      6
        Mr. Judd’s case resembles the circumstances of the Portland allegations more
broadly than that of Mr. Miller. Mr. Judd never entered the Capitol building, he did
not bring any weapons to the Capitol, and never “articulated plans to track and
potentially kill a U.S. Capitol police officer” as Mr. Miller is alleged to have done.

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fireworks were also involved. In both cases, the government had substantial – though

not identical evidence. The complaints in the Portland cases identify law enforcement

victims and eyewitnesses in each allegation. Of course, much of the evidence against

Mr. Judd will be video evidence. Finally, the purposes of sentencing in each instance

would not be so disparate as to warrant such vastly different outcomes. 18 U.S.C. §

3553(a)(2). In both cases, the government has an interest in seeking just punishment,

promoting deterrence, and protecting the public from the actions of individuals

alleged to have attacked officers during attempted breaches of a federal building.

      The discriminatory effects in this case are the outcomes: protestors supporting

left-leaning causes in Portland assaulted officers in the attempted breach of a federal

building and in D.C. assaulted officers directly in an anti-police protest. Mr. Judd

was at a protest associated with right-leaning causes and support of President Trump

and is alleged to have assaulted officers in the attempted breach of a federal building.

At least 25 similarly situated defendants in Portland and the D.C. Fireworks

Defendant had their charges dismissed, whereas Mr. Judd—who caused no injury

and who has no history of violence and is in criminal history category I—received a

plea offer that would result in estimated sentencing guidelines of 46 to 57 months.

The disparity in outcomes is sufficient that the government must turn over the

targeted discovery specified in Section III. Mr. Judd’s request is not a fishing

expedition, and he recommends in camera review by the Court where work product

of open prosecutions is involved.




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      The discriminatory purpose is that the government has treated violence

toward law enforcement differently when it is done by conservative versus liberal

protestors. This purpose is illustrated by the disparate outcomes in large numbers of

prosecutions both in Portland in 2020 and in Washington in 2021.

      Mr. Judd has made “a colorable claim” that he is the subject of selective

prosecution when compared with those arrested for violations of 18 U.S.C. § 231(a)(3)

and 18 U.S.C. § 111 in relation to the Portland riots.

III. RELIEF REQUESTED

      The above factual basis amounts to a “colorable claim” of selective prosecution,

and Mr. Judd requests this Court order discovery regarding the disparities in

charges. Specifically, Mr. Judd seeks:

       (1) Communication between the Department of Justice (“Main Justice”) and
           the U.S. Attorney’s Office for the District of Oregon regarding prosecution
           of defendants arrested in connection with protests in 2020.
       (2) Communication between management at the U.S. Attorney’s Office for the
           District of Oregon and line Assistant U.S. Attorneys regarding prosecution
           of defendants arrested in connection with protests in 2020.
       (3) Communication between the Department of Justice (“Main Justice”) and
           the U.S. Attorney’s Office for the District of Columbia regarding
           prosecution of defendants arrested in connection with the January 6
           demonstrations at the U.S. Capitol.
       (4) Communication between management at the U.S. Attorney’s Office for the
           District of Columbia and line Assistant U.S. Attorneys regarding
           prosecution of defendants arrested in connection with the January 6
           demonstrations at the U.S. Capitol.
       (5) Communication between the Department of Justice (“Main Justice”) and
           the U.S. Attorney’s Office for the District of Columbia regarding
           prosecution of the D.C. Fireworks Defendant.




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       (6) Communication between management at the U.S. Attorney’s Office for the
           District of Columbia and line Assistant U.S. Attorneys regarding
           prosecution of the D.C. Fireworks Defendant.
See Armstrong, 517 U.S. at 468 (“Government must assemble from its own files

documents which might corroborate or refute his selective prosecution] claim.”)

      To the extent that the materials involved are work product pertaining to open

prosecutions, Mr. Judd requests that the government review the communications in

camera for material relevant to Mr. Judd’s selective prosecution claim.



                                       Respectfully submitted,


                                       David Judd

                                       By Counsel

                                       ___/s/_____________
                                       Elizabeth Mullin
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                                       DC Bar Number 484020
                                       Assistant Federal Public Defender

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                         CERTIFICATE OF SERVICE

       I hereby certify that on September 28, 2021, I will electronically file the
foregoing pleading with the Clerk of the Court using the CM/ECF system, which will
then send a notification of such filing (NEF) to all counsel of record.



                                     ___/s/____________
                                     Elizabeth Mullin
                                     Virginia Bar Number 86668
                                     DC Bar Number 484020
                                     Assistant Federal Public Defender




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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      :
                                              :
                  v.                          :      Case No. 21-cr-40-TNM
                                              :
DAVID LEE JUDD,                               :
                       Defendant.             :


   UNITED STATES’ OPPOSITION TO DEFENDANT’S MOTION TO COMPEL
DISCOVERY IN SUPPORT OF MR. JUDD’S CLAIM OF SELECTIVE PROSECUTION


       The United States of America hereby respectfully submits its opposition to the

Defendant’s Motion to Compel Discovery in Support of Mr. Judd’s Claim of Selective

Prosecution in the above-captioned case. Defendant seeks discovery on his claim that the

government selectively targeted him for prosecution due to his political beliefs. Because Judd’s

motion (Doc. 138) does not satisfy the rigorous standard for discovery in this setting, this Court

should deny it.

                                      Factual Background

       The grand jury charged Judd with one count of Assaulting, Resisting, or Impeding

Certain Officers Using a Dangerous Weapon, in violation of 18 U.S.C. § 111(a)(1) and (b); two

counts of Assaulting, Resisting, or Impeding Certain Officers, in violation of 18 U.S.C. §

111(a)(1); one count of Civil Disorder, in violation of 18 U.S.C. § 231(a)(3); one count of

Obstruction of an Official Proceeding, in violation of 18 U.S.C. § 1512(c)(2) and (2); one count

of Engaging in Physical Violence in a Restricted Building or Grounds with a Deadly or

Dangerous Weapon, in violation of 18 U.S.C. § 1752(a)(4) and (b)(1)(A); one count of
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Disorderly and Disruptive Conduct in a Restricted Building or Grounds with a Deadly or

Dangerous Weapon, in violation of 18 U.S.C. § 1752(a)(2) and (b)(1)(A); and two misdemeanor

offenses under 40 U.S.C. § 5104(e)(2). Doc. 102. These charges all stem from Judd’s conduct at

the U.S. Capitol on January 6, 2021.

       On January 6, a joint session of Congress convened to certify the votes of the Electoral

College for the 2020 Presidential Election, which took place on November 3, 2020. At

approximately 1:30 p.m., the House and Senate adjourned to separate chambers to resolve a

particular objection. Vice President Michael R. Pence was present and presiding, first in the

joint session and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President

Pence present and presiding over the Senate, a large crowd gathered outside the United States

Capitol. Officers with the United States Capitol Police (“USCP”) and the Metropolitan Police

Department (“MPD”) attempted to keep the crowd away from the building. Shortly after 2:00

p.m., individuals in the crowd forced entry into the U.S. Capitol by, among other things,

breaking windows and assaulting both USCP and MPD officers as others in the crowd

encouraged and assisted those acts. In response to this intrusion, representatives, senators, and

Vice President Pence evacuated their respective chambers around 2:20 p.m.

       After the Capitol was breached, USCP requested assistance from MPD and other law

enforcement agencies in the area to protect the Capitol, keep more people from entering the

Capitol, and expel the crowd that was inside the Capitol. Multiple MPD officers and other law

enforcement officers came to assist.




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        By 2:30 p.m. on January 6, 2021, rioters had engulfed the west side of the Capitol and

officers had begun retreating from the first landing of the Lower West Terrace, as shown in the

still from USCP surveillance below.




       Around the same time, rioters were climbing on the scaffolding in front of the building

and other features of the building. Although the Capitol Building had already been breached and

protesters had flooded in through several entrances, a group of MPD officers and members of the

USCP and other agencies called to assist gathered to protect the Capitol at the very prominent

entrance on the second landing of the Lower West Terrace. (This is the exit through which the

President typically comes through during inauguration, as pictured below in a photo from later

that night.) To enter the Capitol through the Lower West Terrace doors on January 6, one had to

walk, climb, or scale up to the second landing, go up a set of stairs, walk through an arch and a

short tunnel, and then walk through a series of glass doorways that the officers had locked. The

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tunnel and doorways are very narrow, with the entryway through the doors measuring only

around ten feet across.




       Around 2:40 p.m., a group of law enforcement officers were maintaining a line at the

second set of glass doors inside the tunnel. Officers reporting to the scene rushed to the tunnel

from within the building while protesters outside of the tunnel continued to summon more men to

push their way through the tunnel. A growing number of protesters made their way into the tunnel

with a variety of tools and weapons. The tunnel became the point of an intense and prolonged

clash between protesters and law enforcement at the United States Capitol. Many of the protesters




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in the tunnel were recording videos, and many of the videos circulated and continue to circulate

on Internet channels, social media, and the news.

       Portions of the rioters’ effort in the tunnel to get through the Lower West Terrace doors

were captured both in video surveillance from a USCP camera in the tunnel and in video footage

posted to YouTube (hereinafter, YouTube Video 1). Around 2:52 p.m., YouTube Video 1 shows

a white male with curly blonde hair wearing a red “Make America Great Again” baseball hat

backwards, a black hoodie, and a grey vest, who was subsequently identified as Judd, to the side

of the entrance of the tunnel.

       Then, at approximately 2:56 p.m., Judd can be seen in surveillance footage going into the

tunnel with additional rioters walking toward the line of law enforcement guarding the Lower West

Terrace doors, as shown in the still image below with a red rectangle added around Judd.




       As captured on surveillance video, Judd then joined the group as the rioters pushed in

unison against the officers. As captured in video filmed on the phone held by co-Defendant

Tristan Stevens, who was next to Judd in the tunnel, multiple rioters yelled “ready, heave” as
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Judd, Stevens, and the group pushed in unison against the officers guarding the doors.

       Then, at approximately 2:58 p.m., Judd can be seen in USCP surveillance footage turning

around and exiting the tunnel. Surveillance footage over the next few minutes shows Judd

remaining near the arch, occasionally waving others into the tunnel and yelling.

       Around 3:06 p.m., as captured by another video filmed outside of the arch and posted to

YouTube (hereinafter, YouTube Video 2), Judd can be seen next to co-defendant Robert Morss

as Morss yells for the crowd to pass back riot shields that had been stolen from law enforcement

in order to make a “shield wall.” Judd can also be seen yelling “shield wall” as he pumps his fist

in the air in YouTube Video 2.

       Surveillance video, which captured the same events from a different perspective, then

shows Judd helping move at least two shields into the tunnel and pass them to another rioter in

front of him around 3:06 p.m., as shown in the still below with a red circle around Judd.




      Moments later Judd can be seen on the surveillance footage walking into the tunnel. He


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then lights a cylindrical object on fire and throws it at the line of law enforcement officers who

are guarding the Lower West Terrace doors to the United States Capitol Building, as shown in

the stills below. He then immediately turns and walks out of the tunnel. As captured in another

video filmed inside the tunnel and originally posted to YouTube (hereinafter, “YouTube Video

3”), immediately after Judd begins to walk away, an unidentified member of the crowd (who can

be seen standing next to Judd in surveillance video when he throws the item) can be heard

yelling: “You going to do that and run away! What the fuck.” When asked what the individual

did, the unidentified member of the crowd states: “He threw a firecracker, a big giant, what the

….”




       It bears noting how small and crowded this tunnel was. As evidenced in the still shot

from the surveillance video right after he lit the firecracker, the tunnel is so small it does not

appear to be wide enough to fit more than 10 people standing shoulder to shoulder. (Judd is

indicated by the green box.)




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        Despite its small size, it was full of people, both other rioters, who are visible in the still

shot above, and the law enforcement officers that were standing underneath the camera capturing

Judd’s actions. As visible in the still shot below from YouTube Video 1, around 3:07 p.m.

where what appears to be the lit firecracker thrown by Judd is visible in the top left-hand corner

(as marked by an added red box), law enforcement officers were packed shoulder to shoulder in

the area where Judd threw the firecracker. (The surveillance camera capturing Judd throwing the

firecracker is located directly above the first set of doors visible in this still shot.)




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       As captured on Body Worn Camera footage, an officer in the tunnel can be heard reacting

to the firecracker around the same time, yelling what sounds like “a firework!” through his gas

mask and turning his head in the direction of where the firework appears to land based on the

video still shot shown above. Another can be heard on Body Worn Camera footage warning his

colleagues about the firecracker on the ground. Thankfully, despite being lit and thrown at the

officers, it appears that the firecracker failed to explode. Instead, based on currently identified

Body Worn Camera footage and surveillance footage near where it was thrown, the firecracker

streamed smoke into the area of the tunnel where law enforcement officers were standing.

       As seen on USCP surveillance video, after throwing the firecracker and leaving, Judd

then stayed at the entrance to the tunnel and appeared to be directing the crowd to the tunnel by

waving them forward. Additional USCP surveillance footage and many different videos posted

online show Judd present at various locations near the arch entrance of the Lower West Terrace

tunnel for approximately the next hour. In these various videos, Judd can be seen chanting with

the crowd, encouraging people to enter the tunnel, and assisting the rioters exiting the tunnel

with washing the OC spray from their faces with water.

       For example, in a video posted to Parler and then posted online, which corresponds to

USCP surveillance from around 4:14 p.m., Judd can be seen triumphantly lifting an American

flag in the air moments after another rioter threw a long projectile at the officers, as shown in the

stills below (with the projectile highlighted in a yellow rectangle and Judd in a red rectangle).




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                                                                                          .

        After an arrest warrant was issued, FBI agents arrested Judd at his residence in Carrolton,

Texas on March 26, 2021.

                                             Argument

        In a motion riddled with speculation and insinuations, Judd alleges that the government

selectively targeted him for prosecution based on his political beliefs. He specifically references

the charge for assaulting an officer with a dangerous weapon in violation of 18 U.S.C. § 111(b)

for his decision to light a firecracker inside a small tunnel filled with people and throw it at

officers guarding an entrance to the Capitol on January 6, 2021. Judd contends that the

government failed to prosecute similar conduct occurring during protests around the Portland,

Oregon federal courthouse in May and June 2020.

        Judd’s motion fails the threshold evidentiary showing for a selective-prosecution claim.

His request for discovery should be denied.


   I.      A defendant must make a “rigorous” showing on each element of selective
           prosecution before he can obtain discovery on the issue.

        Because “[t]he Attorney General and United States Attorneys retain broad discretion to

enforce the Nation’s criminal laws,” a “presumption of regularity supports their prosecutorial

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decisions and, in the absence of clear evidence to the contrary, courts presume that they have

properly discharged their duties.” United States v. Armstrong, 517 U.S. 456, 464 (1996) (internal

quotation marks and citations omitted). This presumption “rests in part on an assessment of the

relative competence of prosecutors and courts.” Id. at 465. “Such factors as the strength of the

case, the prosecution’s general deterrence value, the Government’s enforcement priorities, and

the case’s relationship to the Government’s overall enforcement plan are not readily susceptible

to the kind of analysis the courts are competent to undertake.” Ibid. (citation omitted). “Few

subjects are less adapted to judicial review than the exercise by the Executive of his discretion in

deciding when and whether to institute criminal proceedings, or what precise charge shall be

made, or whether to dismiss a proceeding once brought.” United States v. Fokker Servs. B.V.,

818 F.3d 733, 741 (D.C. Cir. 2016) (cleaned up). So “the presumption of regularity” applies to

“prosecutorial decisions and, in the absence of clear evidence to the contrary, courts presume that

prosecutors have properly discharged their official duties.” Id.

       As a result, “[i]n the ordinary case, so long as the prosecutor has probable cause to

believe that the accused committed an offense defined by statute, the decision whether or not to

prosecute, and what charge to file or bring before a grand jury, generally rests entirely in his

discretion.” Armstrong, 517 U.S. at 464.

       This presumption of regularity “also stems from a concern not to unnecessarily impair the

performance of a core executive constitutional function.” Armstrong, 517 U.S. at 465. To

overcome the presumption of regularity and obtain dismissal of the criminal charges, a defendant

must present “clear evidence” that the government’s decision to prosecute was “based on an

unjustifiable standard such as race, religion, or other arbitrary classification.” Id. at 464-65

(citations omitted).
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          Concerned that selective-prosecution inquiries “will divert prosecutors’ resources and

may disclose the Government’s prosecutorial strategy,” the Supreme Court has also imposed a

“correspondingly rigorous standard for discovery in aid of such a claim.” Armstrong, 517 U.S. at

468. The defendant must initially produce “some evidence tending to show the existence of the

essential elements of” selective prosecution, which are: “discriminatory effect and discriminatory

intent.” Ibid. (citation omitted). The defendant’s evidence must also be “credible”—something

more than “personal conclusions based on anecdotal evidence.” Id. at 470. “If either part of the

test is failed,” the defendant cannot “subject[] the Government to discovery.” Att’y Gen. of

United States v. Irish People, Inc., 684 F.2d 928, 947 (D.C. Cir. 1982); see also United States v.

Lewis, 517 F.3d 20, 25 (1st Cir. 2008) (“[D]iscovery will not be allowed unless the defendant's

evidence supports each of the two furcula of his selective prosecution theory: failure on one

branch dooms the discovery motion as a whole”).

   II.       Judd fails to proffer any evidence supporting an inference of selective
             prosecution.

          Judd has failed to make the threshold showing on either selective-prosecution element. He

has not presented any evidence suggesting “that (1) [he] was singled out for prosecution from

among others similarly situated and (2) that [his] prosecution was improperly motivated.” Branch

Ministries v. Rossotti, 211 F.3d 137, 144 (D.C. Cir. 2000) (quoting United States v. Washington,

705 F.2d 489, 494 (D.C. Cir. 1983)). “[T]he standard is a demanding one.” Armstrong, 517 U.S.

at 463.

   A. Judd has not made a colorable showing that the government singled him out for
      prosecution.

          Judd must first adduce evidence that “others similarly situated generally have not been

prosecuted for conduct similar to that for which he was prosecuted.” Irish People, Inc., 684 F.2d
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at 946 (citation omitted). As a judge of this Court explained, an individual may be similarly

situated if he “committed the same basic crime in substantially the same manner as the defendant—

so that any prosecution of that individual would have the same deterrence value and would be

related in the same way to the Government’s enforcement priorities and enforcement plan—and

against whom the evidence was as strong or stronger than that against the defendant.” United States

v. Stone, 394 F. Supp. 3d 1, 31 (D.D.C. 2019) (quoting United States v. Smith, 231 F.3d 800, 810

(11th Cir. 2000)); see also United States v. Lewis, 517 F.3d 20, 27-28 (1st Cir. 2008) (“A similarly

situated offender is one outside the protected class who has committed roughly the same crime

under roughly the same circumstances but against whom the law has not been enforced. … A

multiplicity of factors legitimately may influence the government’s decision to prosecute one

individual but not another. These may include, inter alia, the comparability of the crimes, the

similarities in the manner in which the crimes were committed, the relative efficacy of each

prosecution as a deterrent, and the equivalency of the evidence against each prospective

defendant.”) (internal citations omitted).

        Judd fails this showing. A selective-prosecution claim requires the defendant to identify

“similarly situated” individuals who “have not been prosecuted,” Irish People, Inc., 684 F.2d at

946 (citation omitted), and Judd has pointed to no such individual. He instead cites thirty-nine

cases (from a sample of seventy-four) where the government charged the defendant with federal

offenses arising from riots around the federal courthouse in Portland, Oregon and subsequently

dismissed the charges, entered a deferred-prosecution agreement, or acceded to the defendant’s

guilty plea on reduced charges in many of those cases. Doc. 138 at 5. 1


1
 Judd’s motion further references details from the docket for four of these cases, and one case in D.C. Superior
Court, where, in his view, the defendant’s alleged conduct mirrored his actions on January 6, 2021. Doc. 138 at 4-6.
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         This comparison fails, first and foremost, because the government actually charged nearly

all defendants in the listed Oregon cases with civil-disorder or assault offenses. See Doc. 138-1.

As such, he has failed to “show anyone in a similar situation who was not prosecuted.” Irish

People, Inc., 684 F.2d at 946.

          Moreover, of the cases cited by Judd, those whose conduct is most similar to Judd, i.e.,

cases involving lighting and throwing a firework of some kind on video, were also all charged with

comparable felony offenses for their conduct (and none were dismissed as part of a deferred

resolution agreement or pled down to a misdemeanor). For example, Isaiah Maza, Jr. -- the only

other individual cited in Judd’s group who allegedly lit and threw some kind of pyrotechinic 2 at

federal law enforcement officers or those assisting them -- was indicted on the exact same charge

as Judd, a violation of 18 U.S.C. § 111(b). See United States v. Isaiah Jason Maza, Jr., case no.

3:20-cr-00343 (D. Ore. filed Aug. 19, 2020). Moreover, the charges against Maza were only

dismissed because the defendant died before trial and not as part of a resolution with the

government. (Judd’s summary chart is inaccurate as to this charge, as it does not list the actual

indicted charges in the case.) Similarly, Ty John Fox — whose case is still pending and who

allegedly lit and threw a firework near officers standing outside of a police precinct – was indicted

on one of the same felony charges that Judd is also facing, a violation of 18 U.S.C. § 231. 3



2
  The affidavit in support of the arrest warrant describes the object as a “yellow cylindrical object” with a “string
attached to the cylinder” that appeared on video to spark, like a lit fuse. United States v. Isaiah Jason Maza, Jr., case
no. 3:20-cr-00343 (D. Ore. filed Aug. 19, 2020), Doc. 7-1 at 4. The defendant claimed it was a “pyrotechnic as big
as his hand,” which he thought was a “ground bloom” (which is a type of firework) that “would not cause a big
explosion.” Id. at 9. In video surveillance, Judd is likewise seen lighting a cylindrical object about the size of his
hand with a string that appeared to spark after Judd lit it.
3
 Unlike Judd, Fox also appears to involve parallel criminal charges before the Oregon courts and a decision by the
Oregon U.S. Attorney to defer to state counterparts, which of course increases the differences between the cases.
See, e.g., United States v. Fox, 3:20-cr-501 (D. Or.) (information recited in motion to continue trial date at Doc. 15)
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(Notably, because Fox appears to have thrown the firework at state police officers, not at federal

law enforcement officers or those assisting them like in Judd’s case, and did not do so on federal

property, it does not appear that Fox’s actions could qualify for an 18 U.S.C. § 111(b) charge, as

it would not meet the requisite elements. For the same reasons, the additional D.C. Superior Court

case cited by Judd, United States v. Alana Rogers, 2020 CF3 006970, similarly would not meet

the elements for a federal 18 U.S.C. § 111(b) charge.)

        Further, contrary to his claims, each of the three cases Judd cites in his motion as examples

where a defendant had only been charged with a misdemeanor actually involved a felony charge

to 18 U.S.C. § 111(a). Although it is true that each case was eventually dismissed by the

government for unknown reasons (typically after the defendants repeatedly agreed to waive their

rights to a preliminary hearing or indictment over a period of months), all were initially facing

felony charges. For example, Judd states that the defendant in United States v. Johnson, case no.

3:20-mj-00170 (D. Ore. July 27, 2020), was charged solely with a misdemeanor. Doc. 138 at 4

(“In contrast to Mr. Judd, the defendant was only charged with a misdemeanor, which the

government eventually moved to dismiss without prejudice.) However, the affidavit in support of

the arrest warrant clearly states that Johnson was being charged with a felony. 4 Similarly, the

affidavit in support of the arrest warrant for United States v. Bouchard, case no. 3:20-mj-00165

(D. Ore. July 24, 2020), also makes it clear he was being charged with a felony, contrary to Judd’s

claims. 5 The third case cited by Judd also appears to have involved a felony charge, not a


4
 Id., Doc. 1-1 (“I submit this affidavit in support of a criminal complaint and arrest warrant for Jordan Matthew
JOHNSON. As set forth below, there is probable cause to believe, and I do believe, that JOHNSON committed the
offense of Assaulting a Federal Officer (felony), in violation of 18 U.S.C. § 111(a)(1).”)
5
  Doc. 1-1 (“As set forth below, there is probable cause to believe, and I do believe, that BOUCHARD committed
the offense of Assaulting a Federal Officer (Felony), in violation of 18 U.S.C. § 111(a)(l).”)

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misdemeanor as claimed by Judd. 6 (In addition, although Judd cites additional Oregon cases in

his chart that supposedly involved only misdemeanor charges for assaults on officers, based on a

brief review of the docket for these cases, Judd’s chart appears to include some inaccuracies—as

at least two cases did involve felony charges, contrary to Judd’s claims. 7)

         Judd has accordingly shown no disparate treatment in the government’s charging

approaches.       He instead focuses on the way the government ultimately resolved some of the

Oregon cases and contrasts it with the plea offer that the government recently transmitted to him.

Doc. 138 at 9. This presentation—which compares the government’s initial plea offer to him with

the government’s final resolution in thirty-nine hand-picked Oregon cases (while excluding other

comparable Oregon cases that have not resulted in similar resolutions) — “falls woefully short of

demonstrating a consistent pattern of unequal administration of the law.” United States v. Bernal-

Rojas, 933 F.2d 97, 99 (1st Cir. 1991). In fact, the government’s initial plea offer here rebuts any

inference that that it has “refused to plea bargain with [Judd], yet regularly reached agreements

with otherwise similarly situated defendants.” Ibid.

         In addition, others in the Oregon group listed by Judd faced (and eventually pled) to the

same 18 U.S.C. § 111(b) charge as Judd – which is of course very difficult to square with Judd’s

overarching claim that the government is engaging in selective prosecution here based on a failure

to offer Judd a misdemeanor or deferred resolution plea offer. See United States v. Jacob Michael


6
 United States v. Webb, case no. 3:20-mj-00169 (D. Ore. July 27, 2020) Doc. 1-1 at 3 (explaining that “[u]nder §
111(a), simple assault is a misdemeanor; an assault involving physical contact with the victim or an intent to commit
another felony is a felony” and then explaining the alleged facts, which involve physical contact).
7
  See United States v. Wills, case no. 3:20-cr-00296 (D. Ore. July 27, 2020) Doc. 6 (indictment for felony violation
of 18 U.S.C. § 111(a)); United States v. O’Donnell, case no. 3:20-mj-00166 (D. Ore. July 27, 2020) Doc. 1-1
(affidavit in support of arrest warrant explaining that under § 111(a), an assault involving physical contact with the
victim is a felony and later indicating probable cause to believe the defendant assaulted officer and “in so doing
made physical contact with a federal officer”).
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Gaines, case no. 3:20-cr-00223 (D. Ore. filed July 16, 2020), Doc. 14 and Doc. 53 (plea agreement

to violation of 18 U.S.C. § 111(b) for hitting Marshal with a hammer); United States v. Dakotah

Ray Horton, case no. 3:20-cr-00419 (D. Ore. filed Aug. 16, 2020), Doc. 25 (plea agreement to

violation of 18 U.S.C. § 111(b) for hitting Marshal with a bat).

         Similarly, there are comparable Oregon cases not cited by Judd in his chart or in his motion

that specifically involve allegations of lighting fireworks or some other pyrotechnic. Like Judd,

each defendant’s actions were captured on video. Like Judd, each defendant in those cases was

charged with a felony as a result and the cases remain pending. See United States v. Gabriel E.

Agard-Berryhill, case no. 3:20-cr-00352 (D. Ore. filed Aug. 19, 2020) (defendant charged with

felony for allegedly lighting and throwing a firecracker at a federal building and causing a small

fire); United States v. Joseph Ybarra, case no. 3:20-cr-00294 (D. Ore. filed Aug. 4, 2020)

(defendant charged with felony for allegedly throwing a Molotov cocktail at a federal building,

although bottle failed to ignite). In addition, although also not included in Judd’s chart, other

defendants in the Portland cases who were engaged in equally reckless and dangerous behavior

were charged with (and pled) to felonies as a result. See, e.g., United States v. Schinzing, case no.

3:20-cr-00298 (D. Ore. filed Aug. 5, 2020) (defendant sentenced to 15 months of imprisonment

after pleading guilty to felony arson for breaking into a corrections facility and setting fire to

cubicle); United States v. Weier, case no. 3:20-cr-00263 (D. Ore. filed July 23, 2020) (defendant

pled guilty to felony for unsuccessfully attempting to set fire to a courthouse by repositioning a

piece of lit wood against the building). Again, like Judd, each of these two cases was captured on

video.

         More fundamentally, the thirty-nine Oregon cases serve as improper “comparator[s]”

because those defendants and Judd are not similarly situated. Stone, 394 F. Supp. 3d at 31. Judd
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spent hours with other rioters at the front lines of violent attempts to break into the Capitol building.

He did so while elected lawmakers and the Vice President of the United States were present in the

building and attempting to certify the results of the 2020 Presidential Election in accordance with

Article II of the Constitution. And he committed a host of federal offenses attendant to this riot,

including lighting and throwing a firecracker at officers standing feet in front of him inside a

packed small tunnel, helping to create a shield wall that was used by other rioters to smash up

against officers inside that same small tunnel, and repeatedly joining heave-ho efforts with other

rioters as they used all of their might as a group to try to collectively push through law enforcement

officers in that same small tunnel. All this was captured on multiple high-definition videos.

         Contrast that with the thirty-nine Oregon defendants, who—despite committing serious

offenses—never entered the federal courthouse structure, impeded an official proceeding, or

were alleged to have engaged in repeated assaults on law enforcement officers spread out over a

few hours. Additionally, as noted above, the government’s evidence in those Oregon cases that

resulted in dismissal or deferred resolution agreements, often relied on officer recollections (e.g.,

identifying the particular offender on a darkened plaza with throngs of people) that could be

challenged at trial — rather than the multiple videos from different angles capturing Judd’s

actions in this case. 8 (Similarly, far from being entirely captured on multiple videos, the one



8
  For example, the three cases flagged in Judd’s motion do not appear to have been captured on video. See United
States v. Johnson, case no. 3:20. 3:20-mj-00170 (D. Ore. July 27, 2020), Doc. No 1-1 (affidavit in support of arrest
warrant explaining evidence based on testimony of officers involved and no mention of video); United States v.
Bouchard, case no. 3:20-mj-00165 (D. Ore. July 24, 2020), Doc. 1-1 (same); United States v. Bouchard, case no.
3:20-mj-00165 (D. Ore. July 24, 2020), Doc. 1-1 (same). Similarly, based on a brief review of some of the cases
resulting in deferred resolution agreements that are mentioned in Judd’s chart, they also appear to not involve cases
captured on video. See, e.g., United States v. Blank, case no. 3:20-cr-00224 (D. Ore. July 26, 2020) Doc. 1-1
(affidavit in support of arrest warrant explaining evidence based on testimony of officers involved and no mention of
video); United States v. Storey, case no. 3:20-cr-00330 (D. Ore. July 27, 2020) Doc. 1-1 (same); United States v.
Wills, case no. 3:20-cr-00296 (D. Ore. July 27, 2020) Doc. 1-1 (same).
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D.C. Superior Court case cited by Judd appears to have relied entirely on a brief observation by

just one witness in the middle of an extremely hectic encounter. See United States v. Alanna

Rogers, 2020 CF3 006970, Affidavit in Support of an Arrest Warrant.)

       These situational and evidentiary differences represent “distinguishable legitimate

prosecutorial factors that might justify making different prosecutorial decisions” in Judd’s case.

Branch Ministries, 211 F.3d at 145 (quoting United States v. Hastings, 126 F.3d 310, 315 (4th

Cir. 1997)); see also Price v. U.S. Dep’t of Justice, 865 F.3d 676, 681 (D.C. Cir. 2017)

(observing that a prosecutor may legitimately consider “concerns such as rehabilitation,

allocation of criminal justice resources, the strength of the evidence against the defendant, and

the extent of a defendant’s cooperation” in plea negotiations) (brackets and citation omitted).

       Multiple decisions from this jurisdiction and this Court have also documented the sui

generis nature of this criminal conduct. The D.C. Circuit has observed that “the violent breach

of the Capitol on January 6 was a grave danger to our democracy.” United States v. Munchel,

991 F.3d 1273, 1284 (D.C. Cir.). Indeed, this Court has noted the same. See United States v.

Timothy Lous Hale-Cusanelli, 21-cr-37, (D.D.C. Mar 23, 2021) (Hrg. Tr. at 24) (“Obviously, the

January 6th riot was a serious and sui generis threat to our country’s body politic.”). Other

members of this Court have similarly described it as “a singular and chilling event in U.S.

history, raising legitimate concern about the security—not only of the Capitol building—but of

our democracy itself.” United States v. Cha, No. 21-cr-107, 2021 WL 918255, at *3 (D.D.C.

Mar. 10, 2021); see also United States v. Fox, No. 21-cr-108 (D.D.C. Jun. 30, 2021) (Doc. 41,

Hrg. Tr. at 14) (“This is not rhetorical flourish. This reflects the concern of my colleagues and

myself for what we view as an incredibly dangerous and disturbing attack on a free electoral

system.”); United States v. Chrestman, No. 21-mj-218, 2021 WL 765662, at *7 (D.D.C. Feb. 26,
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2021) (“The actions of this violent mob, particularly those members who breached police lines

and gained entry to the Capitol, are reprehensible as offenses against morality, civic virtue, and

the rule of law.”).

        These decisions confirm that the actions taken by Judd and others on January 6 differ in

kind and in degree from the thirty-nine cited Oregon cases. Judd was part of a mob who traveled

to the Capitol grounds, repeatedly attempted to breach the Capitol building with physical force,

and repeatedly assaulted law enforcement with the goal of impeding congressional certification of

the 2020 Presidential Election. Indeed, he is one of more than 600 defendants already charged for

participating in the riot, and he does not suggest that he has been treated differently than any of

those similarly situated defendants.

        Judd’s effort to draw comparisons to the thirty-nine Oregon cases (and one D.C. Superior

Court case) accordingly fails. Lacking colorable evidence that the government singled him out

for prosecution, Judd’s discovery request fails at the first step.

    B. Judd has not made a colorable showing that the government harbored an improper
       motive in prosecuting him.

        With respect to the second prong, Judd has failed to adduce any evidence that improper

motives undergird this prosecution.

        Judd instead intimates that the government accepted favorable dispositions in some of the

thirty-nine Oregon cases, but withheld a similar plea offer here because he espouses political

views that the government disfavors. Doc. 138 at 157 (“[These dismissals and resolutions have

occurred under the same Democratic administration that continues to prosecute Mr. Judd.”). But

Judd presents no evidence linking any Oregon defendant to a particular political viewpoint. For

example, nothing in the affidavits in support of arrest for the three main Oregon cases described

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in his motion include any evidence that those defendants ascribed to a particular political

viewpoint. 9

         Stripped to its core, Judd relies on rank conjecture in suggesting that political favoritism

has guided the government’s charging and plea decisions. That is not enough to warrant

discovery here; “a defendant must provide something more than mere speculation or ‘personal

conclusions’” of selective prosecution. Stone, 394 F. Supp. 3d at31 (quoting Armstrong, 517

U.S. at 470).

         At bottom, the government has determined that Judd’s offense conduct warrants a penalty

more significant than the Oregon defendants cited in his motion. That reflects an appropriate

exercise of its prosecutorial discretion in balancing the seriousness of Judd’s conduct, the

strength of the evidence against him, the need for his rehabilitation, the need to deter him and

others from future criminal activity targeting the electoral process, and the allocation of the

government’s resources. All these factors constitute permissible prosecutorial considerations.

See Price, 865 F.3d at 681.

         Judd has adduced no evidence that the government initiated these charges in response to

his political views. The Acting U.S. Attorney for the District of Columbia—as an officer of this

Court—further represents that such a consideration plays no role in his office’s charging

policies—be it in this investigation or elsewhere. Judd accordingly fails his burden on the

second element.


9
  See United States v. Johnson, case no. 3:20. 3:20-mj-00170 (D. Ore. July 27, 2020), Doc. No 1-1 at 6 (Defendant
“stated his reason for attending the protest was to make sure his friends get home safe”); United States v. Bouchard,
case no. 3:20-mj-00165 (D. Ore. July 24, 2020), Doc. 1-1 (defendant made no statement about his intent other than to
say “his intent was not to hurt anyone, but to ‘stand his ground.’”); United States v. Bouchard, case no. 3:20-mj-00165
(D. Ore. July 24, 2020), Doc. 1-1 (defendant “stated that he comes out often to the protests because he supports the
movement that the protest represents” with no further explanation provided).

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                                           Conclusion

       Because Judd has failed to carry his burden, he is not entitled to discovery on his

selective-prosecution claim and his motion should be denied.



                                             Respectfully submitted,

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                                  CERTIFICATE OF SERVICE


       I hereby certify that on October 18, 2021, I caused a copy of the foregoing opposition to

be served on counsel of record via electronic filing.

                                              /s/ Melissa Jackson
                                              Melissa Jackson
                                              Assistant United States Attorney




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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                      )
                                              )
             v.                               )     1:21CR40-TNM
                                              )
DAVID LEE JUDD                                )


   Reply to Government’s Opposition to Motion to Compel Discovery in
          Support of Mr. Judd’s Claim of Selective Prosecution

      Defendant David Lee Judd, through counsel, submits this reply to the

government’s opposition to his motion to compel discovery. In his motion for

discovery, Mr. Judd made a prima facie case of discriminatory effect and purpose

which the government has failed to rebut. Instead, the cases cited by the government

support Mr. Judd’s claim that he and other January 6 defendants have a colorable

claim of selective prosecution when compared with the government’s charging and

resolution of cases stemming from violent riots in Portland, Oregon in 2020 as well

as riot cases stemming from protests in Washington, D.C., which spanned the

summer of 2020.

   1. The Defendant Must Offer a “Colorable Claim” to be Entitled to
      Discovery on His Selective Prosecution Claim.

      While it is true that prosecutorial decisions enjoy a “presumption of

regularity,” United States v. Armstrong, 517 U.S. 456, 464 (1996), prosecutorial

discretion is subject to constitutional constraints. Armstrong, 517 U.S. at 464

(quoting United States v. Batchelder, 442 U.S. 114, 125 (1979)). “The Equal Protection

Clause prohibits selective enforcement “based upon an unjustifiable standard such

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as race, religion, or other arbitrary classification.” United States v. Barnes, WL

5538550 (D.C. Cir. 2019) (internal citations omitted).

        In order to be entitled to discovery in a selective prosecution case, the

defendant must offer “at least a colorable claim” that (1) he or she was singled out for

prosecution from among others similarly situated, and (2) that his or her prosecution

was improperly motivated. See United States v. Washington, 705 F.2d 489, 494 (D.C.

Cir. 1983); Attorney General v. Irish People, Inc., 684 F.2d 928, 932 (D.C. Cir. 1982);

Synanon Church v. United States, 579 F. Supp. 967, 977 (D.D.C. 1984).         Mr. Judd

has made a “colorable claim” and therefore, he is entitled to discovery.

   i.      The Charging of the Comparative Group Does Not Bar a Selective
           Prosecution Claim.

        Mr. Judd has catalogued a number of “Portland Riot” cases in which the

government either dismissed the case outright or offered a deferred resolution

agreement (DRA). Doc. 138. Rather than offer a rational explanation as to why

significant numbers of the Portland defendants’ cases were outright dismissed by

nolle prosequi or resolved by DRA when they were similarly situated to that of the

January 6 defendants, the government points to three cases cited by Mr. Judd in

which defendants were initially charged with assault on a police officer while in the

same breath admitting that the charges were dismissed: “Although it is true that

each case was eventually dismissed by the government for unknown reasons (typically

after the defendants repeatedly agreed to waive their rights to a preliminary hearing

or indictment over a period of months), all were initially facing felony charges.).”

Gov’t. Opp. Doc. 154 at 17 (emphasis added).

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           In relying on those three cases, the government argues that because the

Portland cases were initially pursued, Mr. Judd cannot establish that similarly

situated people were “not prosecuted,” which he is required to show under Armstrong.

Gov’t Opp. at 16. But the government misses the mark by conflating charging with

prosecution, thereby losing sight of the Equal Protection touchstone of selective

prosecution. Specifically, by the government’s logic, it could treat two classes of

people differently under the law—i.e., punish only one group—if it merely charges

both groups first. The result is both absurd and untenable. The Equal Protection

Clause does not operate by form, but by function. That is why the test for selective

prosecution is functional, focusing on discriminatory effects. 1

           Moreover, the government cites no direct support for its position that charging

disqualifies a comparative class. Instead, the government relies on an extension of

the language and logic in Armstrong.                           But Armstrong does not stand for the

proposition that a claim of selective prosecution is per se precluded if the government

can locate a few similarly situated defendants who were only initially charged and

then granted nolle prosequi. Indeed, elsewhere in the Armstrong opinion, the Court

described the threshold that a defendant must meet as “a credible showing of

different treatment of similarly situated persons…” Armstrong, 517 U.S. 456 at 470

(“We think the required threshold—a credible showing of different treatment of

similarly situated persons—adequately balances the Government’s interest in

vigorous prosecution and the defendant’s interest in avoiding selective prosecution.”)



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    This is particularly true when discussing higher up decision-making.

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(emphasis added). The Portland cases the government relies upon show just that:

different treatment of similarly situated persons.

         Finally, while it is true that there is little case law that addresses the issue

even indirectly, courts often frame the selective prosecutorial endeavor as a matter

of wrongly singling out a defendant or class of defendants for punishment, not

process. See, e.g., Gardenhire v. Schubert, 205 F.3d 303, 318 (6th Cir. 2000) (“The

court should dismiss a case, or take other appropriate action, if the defendant can

prove that the prosecutor or investigator intentionally singled him out for

punishment.”) (emphasis added). And at least one court has expressly observed that

differences in prosecutorial technique can support a selective prosecution claim.

United States v. Daniels, 142 F. Supp. 2d 140, 143 (D. Mass. 2001) (“[T]he [selective

prosecution] claimant must prove that the Government’s enforcement technique had

a discriminatory effect and that it was motivated by a discriminatory purpose.”)

(citing and quoting Wayte v. United States, 470 U.S. 598, 608 (1985) (internal

quotations omitted).

   ii.      The Prosecutorial Decision-making Cannot Be Explained By Any
            Differences in the Strength of the Evidence Between the Portland
            Defendants and the January 6 Defendants

         In each of the cases the government cites in its opposition, according to the

Affidavits in support of arrest, the offenses were witnessed by at least one (and in two

cases, multiple) law enforcement witnesses and a law enforcement victim was

physically struck or placed in a headlock. Thus, the evidence was strong. And yet,

the cases were ultimately dismissed on the government’s motion.



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          The first of those defendants, Jordan Johnson, was observed by two Deputy

United States Marshals (DUSM) striking another DUSM in the face with a

homemade shield. United States v. Johnson, 3:20-mj-170 (D. Or.), Doc. 1 (Aff.).

Johnson’s belongings were searched and a baton, OC spray, steel plated body armor,

helmet, a first aid kit, gas mask, and goggles were recovered. Yet, as the government

acknowledges, inexplicably, Johnson’s case was dismissed on the government’s own

motion. Doc. 20.

          Next, the government points to the case of Portland rioter Bouchard. In that

case, a Special Agent with the Federal Protective Service witnessed Bouchard place

his arm around an officer’s neck in a “headlock maneuver.” Bouchard was also

observed carrying a shield. United States v. Bouchard, 3:20-mj-165 (D. Or.), Doc. 1-1

(Aff.).    Though the offense was witnessed by several federal officers, defendant

Bouchard’s case was also inexplicably dismissed upon motion by the government.

Doc. 17.

          Finally, in this subset of cases, the government points to United States v. Webb,

another felony case dismissed (with prejudice) by the government for reasons

unknown. 3:20-mj-169 (D. Or.), Doc. 22. In that case, Webb was observed striking a

DUSM in the face with a shield. He then resisted arrest “by pulling his arms away

from the DUSMs in an attempt to avoid being restrained.” Doc. 1 (Aff.).

          Contrast the Portland defendants to Mr. Judd, who has never been before been

in trouble, and who was arrested over eight months ago and has twice agreed to toll

his speedy trial rights as the government assembles discovery. The only plea offer



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extended was to the lead felony count with the enhancement (18 USC §111(b)) and

would have Mr. Judd stipulate to a guideline range of a significant sentence of

imprisonment. Not only was he never offered an opportunity to participate in a DRA

like many of the Portland defendants were, his efforts to negotiate a more favorable

plea agreement were met with total resistance.

      The government next argues that Mr. Judd is not similarly situated to a

defendant charged in D.C. Superior Court, who, during a protest, was alleged to have

thrown an M-80 style firework at a police officer, burning his pant leg. United States

v. Alanna Rogers, 2020 CF3 006970 (D.C. Super. Ct. dismissed Sept. 30, 2020). While

that defendant’s offense was not captured on video, there was physical evidence that

the defendant’s firework ignited and made contact with a police officer.           That

defendant’s case was dismissed in its entirety by the same U.S. Attorney’s Office that

charged Mr. Judd. And while the government correctly notes that defendant Rogers

could not be charged with 18 USC § 111(b), the government fails to explain why it

declined to classify the firecracker as a dangerous weapon under the D.C. Code. In

another Portland fireworks case cited by Mr. Judd, the government points out that

the defendant, John Ty Fox, was charged with a felony (civil disorder), but again fails

to explain why it declined to classify the firework Fox used as a dangerous weapon,

removing any potential for an enhancement penalty. Despite the fact that the small

object that Mr. Judd is alleged to have tossed did not ignite, the government elected

to charge the object as a “dangerous weapon,” subjecting Mr. Judd to enhanced

penalties. This is clearly disparate treatment of similarly situated defendants.



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   iii.     The Government’s Reliance on a Small Handful of Portland Riot
            Cases That Resulted in Felony Pleas is Unavailing Because Mr.
            Judd is Not Similarly Situated to Those Particular Defendants.

          The government points to Portland riot cases in which defendants pleaded

guilty to felonies. Gov’t. Opp. p. 18-19. As an initial matter, it is telling that the

government can only point to a handful of Portland riot cases which were resolved in

felony plea agreements. Moreover, those particular defendants were not similarly

situated to Mr. Judd. For example, the government relies on a case in which a

defendant “attacked a door at the Hatfield Courthouse with a sledgehammer, and

then assaulted a responding Deputy U.S. Marshal by striking him with the same

hammer.” United States v. Jacob Gaines, 3:20cr223 (D. Or.) Doc. 29 (Gov’t Resp. to

Motion for Pre-trial Release). In the struggle that ensued, Gaines struck the marshal

three times with a hammer. Id. Gaines pleaded guilty to one count of 18 U.S.C. §

111(b) and the government agreed to recommend the “low end” of the applicable range

as long as the defendant demonstrated acceptance of responsibility. Doc. 53 (Plea

Agreement). In another case the government cites, a defendant who struck a DUSM

repeatedly from behind with a wooden baseball bat pleaded guilty to 18 U.S.C.

§111(b). In that case, even though the officer experienced “significant bruising and

soreness,” the government agreed to recommend a sentence of just 24 months. U.S.

v. Dakotah Ray Horton, Case No. 3:20CR419 (D. Or.) Doc. 25 (Plea Agreement). It

bears emphasis here that Mr. Judd did not cause injury to any officer and the

guideline range contemplated in Mr. Judd’s plea offer is substantially higher than

the 24 months the government agreed was appropriate for defendant Horton.



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          The government points to two purportedly “comparable” Oregon cases

involving allegations of “lighting fireworks or some other pyrotechnic.” Gov’t Opp. at

19. But in one of these cases, the defendant caused a fire to break out 2 and in the

other, the defendant threw a Molotov cocktail. When it twice failed to ignite, the

defendant picked it up and threw it again. 3 Those defendants’ alleged actions are not

comparable to Mr. Judd’s and therefore, they are not similarly situated. Irish People

v. Inc., 684 F.2d 928, 946 (D.C. Cir. 1982) (an individual is similarly situated if he

committed the same crime in “substantially the same manner” as the defendant).

      2. Mr. Judd Has Made a Prima Facie Showing of Discriminatory
         Purpose.

          The government argues that Mr. Judd cannot produce evidence “linking any

Oregon defendant to a particular viewpoint.” Gov’t. Opp. at 22.                    But of course, the

government cannot with a straight face refute that the Portland protests were

associated with left-leaning causes and that the January 6 protests were associated

with supporters of President Trump. Indeed, the government made a point that Mr.

Judd’s was pictured wearing a red “Make America Great Hat.” Gov’t. Opp. at 5. Mr.

Judd does not stand alone in his observation that he and other January 6 defendants

are being treated more harshly than the Portland defendants.                         Indeed, federal

lawmakers have also questioned the government’s treatment of the January 6

defendants as comparted to the Portland rioters. In a letter to Attorney General

Garland, a group of senators observed:



2
    U.S. v. Agard-Berryhill, 3:20CF352 (D. Or.) Doc. 1-1, Affidavit in support of Arrest Warrant.
3   U.S. v. Jospeh Ybarra, 3:20CR294 (D. Or.) Doc. 1-1, Affidavit in support of Arrest Warrant.

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        During the spring and summer of 2020, individuals used peaceful
        protests across the country to engage in rioting and other crimes that
        resulted in loss of life, injuries to law enforcement officers, and
        significant property damage. A federal courthouse in Portland, Oregon,
        has been effectively under siege for months. Property destruction
        stemming from the 2020 social justice protests throughout the country
        will reportedly result in at least $1 billion to $2 billion in paid insurance
        claims. 4

The senators were also troubled by the DOJ’s lax treatment of Portland riot
defendants:

        Despite these numerous examples of violence occurring during these
        protests, it appears that the individuals charged with committing crimes
        at these events may benefit from infrequent prosecutions and minimal,
        if any, penalties. According to a recent article, “prosecutors have
        approved deals in at least half a dozen federal felony cases arising from
        clashes between protesters and law enforcement in Oregon last summer.
        The arrangements — known as deferred resolution agreements — will
        leave the defendants with a clean criminal record if they stay out of
        trouble for a period of time and complete a modest amount of community
        service, according to defense attorneys and court records.” 5

        The senators go on to point out—as Mr. Judd has—that the DOJ’s treatment

of the Portland cases “stands in stark contrast to the harsher treatment of the

individuals charged in connection with the January 6, 2021, breach of the U.S.

Capitol Building.” 6

        The government’s decision to treat the January 6 defendants differently than

other similarly situated defendants (that is, defendants arrested for conduct at a

protest) is not limited to its disparate treatment of the Portland protestors. Its

discriminatory prosecution is also evidenced by the District of Columbia U.S.



4
  Letter to the Hon. Merrick B. Garland, June 7, 2021 (citations omitted), attached hereto as Exhibit
1.
5 Id. citing Josh Gerstein, Leniency for defendants in Portland clashes could affect Capitol riot cases,

Politico, Apr. 14, 2021, https://www.politico.com/news/2021/04/14/portland-capitol-riot-cases-481346.
6 Id.


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Attorney’s Office’s own handling of civil disorder cases stemming from the widespread

protests which occurred in the District in the wake of the death of George

Floyd. 7 Some of those protests became violent. Based on counsel’s analysis of arrest

data culled from https://mpdc.dc.gov/publication/mpd-unrest-related-arrest-data-set,

between May and September, 2020, 102 protest participants were arrested for felony

rioting stemming from the DC protests. Of those individuals, 39 were charged with

criminal offenses. Of the 39 charged with criminal offenses, 12 were nolle prossed,

15 individuals were offered diversionary programs, two defendants were charged

with felonies which were later pleaded down to misdemeanors, one was charged with

a felony and sentenced to probation with 10 months suspended, one defendant was

charged with a misdemeanor and pleaded and sentenced to probation with 150 days

suspended. There are currently two pending misdemeanor cases stemming from the

DC protests and six defendants charged with felonies. In each of those felony cases,

the   defendants       were    arrested     for        entering   and   looting    a   store    or

establishment. 8 During the same time period, 37 protest participants were arrested

for assaulting a police officer during the DC protests. Of those individuals, 25 were

charged with criminal offenses. Of the 25 charged, only four were charged with

felonies. Of the four felony cases, one pleaded down to a misdemeanor, and one was


7 See George Floyd death: Violence in Washington DC as protests continue, BBC News, June 1, 2020.

https://www.bbc.com/news/av/world-us-canada-52876902; Night of Destruction across D.C. after
protestors clash with police outside White House, Washington Post, June 1, 2021,
https://www.washingtonpost.com/local/dc-braces-for-third-day-of-protests-and-clashes-over-death-of-
george-floyd/2020/05/31/589471a4-a33b-11ea-b473-04905b1af82b_story.html
    8 See U.S v. Daequan Anderson, 2020 CF3 005107; U.S. v. Tanisha Bauffer, 2020 CF3 005095,
U.S. v. Jerrick Dorsey, 2020 CF3 005099; U.S v. Hezekiah Grooms, 2020 CF3 005108; U.S. v. Marquese
Harris, 2020 CF3 005100; U.S. v. James Williams, 2020 CF2 005572. (D.C. Super. Ct.)


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nolle prossed. 9 Of the 21 cases resulting in misdemeanor charges, six were nolle

prossed, and four resulted in deferred prosecution agreements. While it is true that

the D.C. protest defendants were charged in D.C. Superior Court, they were

prosecuted by the same U.S. Attorney’s Office that charged the January 6 defendants

in federal court and even a cursory review of the outcomes of those cases show that

the government is taking a much harsher approach to the January 6 defendants for

similar conduct.

       By presenting evidence of the disparate treatment of January 6 defendants as

compared to other protestors associated with left-leaning causes, Mr. Judd has made

the “colorable showing of different treatment of similarly situated persons” required

by Armstrong and is therefore entitled to discovery. 517 U.S. at 470.

    3. Mr. Judd is Entitled to Narrowly Tailored Discovery to Support His
       Claim of Selective Prosecution.

       Mr. Judd has requested discovery to support his claim of selective prosecution

and because he has made a colorable claim, the Court should grant his request. At

the status conference in this matter, the Court suggested that counsel investigate

what types of discovery has been ordered in other cases.

       Of course, it is impossible to analogize the January 6 prosecutions to any other

prosecution of a group of defendants, simply because a mass prosecution of this




9  There are two remaining pending felony assault cases: United States v. Herman McNeal,
2020CF36380 (D.C. Super. Ct.) (defendant McNeal is charged with throwing rocks at police officers.
One of the rocks caused a spiral compound fracture of an officer’s tibia); United States v. Jamar Byrd,
2020CF32020 (D.C. Super. Ct.) (while being transported to a transport wagon, Byrd is reported to
have bit an officer, breaking the skin; inside the transport wagon, Byrd kicked an officer and
headbutted another officer).

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breadth is unprecedented. However, district court orders in other cases involving

claims of selective enforcement and/or selective prosecution are instructive as to the

type and scope of discovery the government should be compelled to produce. The

cases make clear that the discovery should be responsive to the defendant’s claim of

selective prosecution. For example, in one case, a Black defendant charged with

distributing crack cocaine moved to obtain discovery as to whether federal controlled

substance laws prohibiting distribution of cocaine in form of cocaine base were being

unfairly, arbitrarily and discriminatorily enforced against him. The district judge

held that the defendant had demonstrated the threshold level of selective prosecution

sufficient to warrant discovery. In that case, the judge granted the defendant’s

request for the following discovery:

             A list of all federal cases in which the defendant has been charged
             with a cocaine offense, specifying whether the charge involved
             cocaine base or cocaine powder; 2.the racial or ethnic identity of
             each defendant in the listed case; 3.A statement identifying (a)
             each of the law enforcement agencies, including joint federal-
             state-local task forces or other inter-Governmental organizations,
             involved in the selection of targets for investigation of cocaine
             powder or cocaine base criminal offenses, and (b) the policies
             followed in making that determination; Statements identifying
             (a) the agencies involved and (b) the policies followed in
             determining which particular persons will be prosecuted in state
             or federal court; A statement of the practices followed in
             implementing each policy articulated in response to requests 3(b)
             and 4(b) including articulable criteria employed in actual
             practice; An explanation of how the decisions to investigate and
             prosecute Defendant Tuitt in the present case were made and how
             they were compliant with the policy and practices articulated in
             responses to requests 3 through 5.

United States v. Tuitt, 68 F. Supp. 2d 4, 17 (D. Mass. 1999). In another case involving

a defendant indicted on charges of stealing secrets about the U.S. nuclear arsenal on

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behalf of the People’s Republic of China, the district judge granted the defendant’s

motion for discovery on his selective prosecution claim and ordered the government

to produce, among other materials, “the full classified transcript of testimony by the

Attorney General and other Department of Justice officials before any congressional

committee with respect to the defendant and the investigations in this case.” United

States v. Wen Ho Lee, CR99-1417 JP (D.N.M. August 25, 2000) (Order granting

Motion for Discovery of Materials Related to Selective Prosecution).          In a case

involving the operation of “phony stash houses,” the district judge granted the

defendants’ motion for discovery to support claims of racial profiling in the

investigation and prosecution of the “stash house” cases. United States v. Paxton,

2014 WL 1648746 (N.D. Ill. April 17, 2014).      In Paxton, the defendants requested

broad discovery into the ATF’s policies and procedures related to sting operations.

The district judge held that “although defendants have made a sufficient showing to

entitle them to discovery, the court finds that the scope of the defendants’ request to

be broader than necessary.” Id. at 6. As such, the district judge ordered the parties

to “meet and confer regarding which items on the list may be disclosed by agreement”

and report back to the court. Id.

      In Mr. Judd’s case, if the Court is not inclined to compel the government to

disclose each of the items listed in his initial motion (Doc. 138 at 10), the Court limit

could order the government to produce discovery narrowly tailored to support Mr.

Judd’s claim. For example, the Court could order the government to produce internal

Department of Justice memos regarding charging decisions and plea offers in the



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January 6 cases and the Portland riot cases.       The Court could also order the

government to produce internal memos and emails regarding the charging and plea

offer decisions in Mr. Judd’s case and the Portland riot cases involving the alleged

use of a firework or other explosive devices. Finally, particularly since the protests

happened in the same city and were prosecuted by the same office, the Court could

order the government to produce internal memos and emails regarding its charging

decisions in the Jan. 6 cases and protests that occurred in the District of Columbia

during the summer of 2020.

                                 Conclusion

   For the reasons stated herein and Mr. Judd’s initial Motion to Compel and any

other reasons that may appear to the Court after a hearing, Mr. Judd moves the Court

to order the government to produce discovery related to his claim of selective

prosecution.




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                                         Respectfully submitted,


                                         David Judd

                                         By Counsel

                                         ___/s/_____________
                                         Elizabeth Mullin
                                         Virginia Bar Number 86668
                                         DC Bar Number 484020
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                                         Elizabeth_Mullin@fd.org (email)




                           CERTIFICATE OF SERVICE

       I hereby certify that on October 25, 2021, I will electronically file the foregoing
pleading with the Clerk of the Court using the CM/ECF system, which will then send
a notification of such filing (NEF) to all counsel of record.



                                         ___/s/____________
                                         Elizabeth Mullin
                                         Virginia Bar Number 86668
                                         DC Bar Number 484020
                                         Assistant Federal Public Defender




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Exhibit 1: Letter from federal lawmakers to Attorney General Garland
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                                                  June 7, 2021

The Honorable Merrick B. Garland
Attorney General
U.S. Department of Justice
950 Pennsylvania Avenue, NW
Washington, DC 20530

Dear Attorney General Garland:

        The U.S. Department of Justice (DOJ) is currently dedicating enormous resources and
manpower to investigating and prosecuting the criminals who breached the U.S. Capitol on
January 6, 2021. We fully support and appreciate the efforts by the DOJ and its federal, state and
local law enforcement partners to hold those responsible fully accountable.

        We join all Americans in the expectation that the DOJ’s response to the events of January
6 will result in rightful criminal prosecutions and accountability. As you are aware, the mission
of the DOJ is, among other things, to ensure fair and impartial administration of justice for all
Americans. Today, we write to request information about our concerns regarding potential
unequal justice administered in response to other recent instances of mass unrest, destruction,
and loss of life throughout the United States.

        During the spring and summer of 2020, individuals used peaceful protests across the
country to engage in rioting and other crimes that resulted in loss of life, injuries to law
enforcement officers, and significant property damage.1 A federal court house in Portland,
Oregon, has been effectively under siege for months.2 Property destruction stemming from the
2020 social justice protests throughout the country will reportedly result in at least $1 billion to
$2 billion in paid insurance claims.3

        In June 2020, the DOJ reportedly compiled the following information regarding last
year’s unrest:

        “One federal officer [was] killed, 147 federal officers [were] injured and 600 local
         officers [were] injured around the country during the protests, frequently from
         projectiles.”4


1
  Jennifer Kingson, Exclusive: $1 billion-plus riot damage is most expensive in insurance history, Axios, Sept. 16,
2020, https://www.axios.com/riots-cost-property-damage-276c9bcc-a455-4067-b06a-66f9db4cea9c.html.
2
  Conrad Wilson and Jonathan Levinson, Protesters, federal officers clash outside Portland’s courthouse Thursday,
OPB, Mar. 12, 2021, https://www.opb.org/article/2021/03/12/protesters-vandalize-portlands-federal-courthouse-
again/.
3
  Jennifer Kingson, Exclusive: $1 billion-plus riot damage is most expensive in insurance history, Axios, Sept. 16,
2020, https://www.axios.com/riots-cost-property-damage-276c9bcc-a455-4067-b06a-66f9db4cea9c.html.
4
  Published in the Intercept, Jul. 15, 2020, https://theintercept.com/document/2020/07/15/preventing-violence-and-
criminal-activity-in-protection-of-lawful-protest/.
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                                                                                               June 7, 2021
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        According to the Bureau of Alcohol, Tobacco, Firearms and Explosives (ATF), “since
         the start of the unrest there has been 81 Federal Firearms License burglaries of an
         estimated loss of 1,116 firearms; 876 reported arsons; 76 explosive incidents; and 46
         ATF arrests[.]”5

        Despite these numerous examples of violence occurring during these protests, it appears
that individuals charged with committing crimes at these events may benefit from infrequent
prosecutions and minimal, if any, penalties. According to a recent article, “prosecutors have
approved deals in at least half a dozen federal felony cases arising from clashes between
protesters and law enforcement in Oregon last summer. The arrangements — known as deferred
resolution agreements — will leave the defendants with a clean criminal record if they stay out
of trouble for a period of time and complete a modest amount of community service, according
to defense attorneys and court records.”6

        DOJ’s apparent unwillingness to punish these individuals who allegedly committed
crimes during the spring and summer 2020 protests stands in stark contrast to the harsher
treatment of the individuals charged in connection with the January 6, 2021 breach of the U.S.
Capitol Building in Washington, D.C. To date, DOJ has charged 510 individuals stemming from
Capitol breach.7 DOJ maintains and updates a webpage that lists the defendants charged with
crimes committed at the Capitol. This database includes information such as the defendant’s
name, charge(s), case number, case documents, location of arrest, case status, and informs
readers when the entry was last updated.8 No such database exists for alleged perpetrators of
crimes associated with the spring and summer 2020 protests. It is unclear whether any
defendants charged with crimes in connection with the Capitol breach have received deferred
resolution agreements.

        Americans have the constitutional right to peaceably assemble and petition the
government for a redress of grievances. This constitutional right should be cherished and
protected. Violence, property damage, and vandalism of any kind should not be tolerated and
individuals that break the law should be prosecuted. However, the potential unequal
administration of justice with respect to certain protestors is particularly concerning. In order to
assist Congress in conducting its oversight work, we respectfully request answers to the
following questions by June 21, 2021:




5
  Id.
6
  Josh Gerstein, Leniency for defendants in Portland clashes could affect Capitol riot cases, Politico, Apr. 14, 2021,
https://www.politico.com/news/2021/04/14/portland-capitol-riot-cases-481346.
7
  Madison Hall et al., 493 people have been charged in the Capitol insurrection so far. This searchable table shows
them all., Insider, accessed June 4, 2021, https://www.insider.com/all-the-us-capitol-pro-trump-riot-arrests-charges-
names-2021-1.
8
  Capitol Breach Cases, U.S. Dep’t of Justice, accessed May 21, 2021, https://www.justice.gov/usao-dc/capitol-
breach-cases?combine=&order=title&sort=asc.
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Spring and Summer 2020 Unrest:

    1. Did federal law enforcement utilize geolocation data from defendants’ cell phones to
       track protestors associated with the unrest in the spring and summer of 2020? If so, how
       many times and for which locations/riots?

    2. How many individuals who may have committed crimes associated with protests in the
       spring and summer of 2020 were arrested by law enforcement using pre-dawn raids and
       SWAT teams?

    3. How many individuals were incarcerated for allegedly committing crimes associated with
       protests in the spring and summer of 2020?

    4. How many of these individuals are or were placed in solitary confinement? What was
       the average amount of consecutive days such individuals were in solitary confinement?

    5. How many of these individuals have been released on bail?

    6. How many of these individuals were released on their own recognizance or without being
       required to post bond?

    7. How many of these individuals were offered deferred resolution agreements?9

    8. How many DOJ prosecutors were assigned to work on cases involving defendants who
       allegedly committed crimes associated with protests in the spring and summer of 2020?

    9. How many FBI personnel were assigned to work on cases involving defendants who
       allegedly committed crimes associated with protests in the spring and summer of 2020?

January 6, 2021 U.S. Capitol Breach:


    10. Did federal law enforcement utilize geolocation data from defendants’ cell phones to
        track protestors associated with the January 6, 2021 protests and Capitol breach? If so,
        how many times and how many additional arrests resulted from law enforcement utilizing
        geolocation information?

    11. How many individuals who may have committed crimes associated with the Capitol
        breach were arrested by law enforcement using pre-dawn raids and SWAT teams?

    12. How many individuals are incarcerated for allegedly committing crimes associated with
        the Capitol breach?


9
 Josh Gerstein, Leniency for defendants in Portland clashes could affect Capitol riot cases, Politico, Apr. 14, 2021,
https://www.politico.com/news/2021/04/14/portland-capitol-riot-cases-481346.
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13. How many of these individuals are or were placed in solitary confinement? What was
    the average amount of consecutive days such individuals were in solitary confinement?

14. How many of these individuals have been released on bail?

15. How many of these individuals have been released on their own recognizance or without
    being required to post bond?

16. How many of these individuals were offered deferred resolution agreements?

17. How many DOJ prosecutors have been assigned to work on cases involving defendants
    who allegedly committed crimes associated with the Capitol breach?

18. How many FBI personnel were assigned to work on cases involving defendants who
    allegedly committed crimes associated with the Capitol breach?


                                       Sincerely,




   Ron Johnson                                                       Tommy Tuberville
   United States Senator                                             United States Senator




   Mike Lee                                                          Rick Scott
   United States Senator                                             United States Senator




   Ted Cruz
   United States Senator
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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                       :
                                               :
                v.                             :       Case No. 21-cr-40 (TNM)
                                               :
DAVID LEE JUDD,                                :
                        Defendant.             :


      UNITED STATES’ SURREPLY TO DEFENDANT’S MOTION TO COMPEL
     DISCOVERY IN SUPPORT OF HIS CLAIM OF SELECTIVE PROSECUTION

         The United States of America respectfully submits this surreply to respond to the

Defendant’s new arguments in his reply (ECF No. 157) and dispute certain misstatements.

Notwithstanding the Defendant’s efforts, his motion for selective-prosecution discovery lacks

merit and should be denied.

    I.      Judd’s Belated Comparison to a New Group of D.C. Superior Court Cases Is
            Procedurally Improper and Flawed.

         In support of his selective-prosecution allegation, Judd’s reply proffers an entirely new set

of cases stemming from criminal activity in Washington D.C. during Summer 2020 protests. 1 This

Court should reject Judd’s new comparator group as arriving too late. “Reply briefs reply to




1
  Judd initially cited one D.C. Superior Court case, United States v. Alana Rogers, 2020 CF3
006970. As already addressed, the quantum of evidence there was much lower. Unlike Judd’s
conduct, which was captured on multiple videos, the evidence in Rogers turned on a brief
observation by one witness in the middle of a hectic encounter. While Judd agrees that federal
charges were not appropriate in Rogers, he attempts to show selective prosecution by the
government’s purported failure to initially classify the defendant’s firework as a dangerous
weapon. However, as clearly stated on the complaint in Rogers, the defendant was charged with
an Assault on a Police Officer While Armed with a Dangerous Weapon. Similarly, in his reply,
Judd alleges the government’s failure to charge the defendant facing a felony civil disorder charge
in United States v. Fox, 3:20-cr-501 (D. Or.), with an enhancement for using a dangerous weapon.
However, there is no dangerous-weapon enhancement in that code provision, foreclosing Judd’s
proffered inference of disparate treatment.
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arguments made in the response brief—they do not provide the moving party with a new

opportunity to present yet another issue for the court’s consideration.” MBI Grp., Inc. v. Credit

Foncier Du Cameroun, 616 F.3d 568, 575 (D.C. Cir. 2010) (brackets and citation omitted).

        In any event, Judd’s new comparator group fails to support an inference of selective

prosecution. The cited cases involve civil-disorder offenses and assaults committed in Summer

2020 in proximity to various Washington D.C. protest activities. Judd’s criminal conduct on

January 6, 2021, differed in kind and in degree. Judd and other defendants spent hours trying to

force their way into the U.S. Capitol Building, knowing that elected representatives had convened

inside and were attempting to certify the Presidential Election. That conduct—which directly

targeted the personnel and gears of the legislative branch and posed “a grave danger to our

democracy,” United States v. Munchel, 991 F.3d 1273, 1284 (D.C. Cir. 2021)—reflects a

“distinguishable legitimate prosecutorial factor[] that might justify making different prosecutorial

decisions” in Judd’s case. Branch Ministries v. Rossotti, 211 F.3d 137, 145 (D.C. Cir. 2000)

(citation omitted). As a consequence, this group of D.C. cases—like the Portland citations that

Judd previously assembled—is not similarly situated for purposes of the selective-prosecution

inquiry. 2


2
  Even were one to ignore the sui generis and grave nature of the crimes committed on January 6,
Judd still fails to demonstrate that members of the D.C. cases he cited are similar in nature to his.
Judd provides generalized descriptions of the D.C. cases he cites, such as “participants charged
with assaulting a police officer during the DC protests.” ECF 157 at 10. Based solely on that
generalized description and without any evidence that felony charges (federal or otherwise) were
even potentially applicable to those cases, Judd asks the court to assume that the number of
misdemeanor charges is nonetheless evidence of disparate treatment. However, even in just
reviewing at random one of the cases in the chart of arrest data cited by Judd, it is clear that such
an assumption is not warranted. See, e.g., United States v. Siera Clark¸ 2020 CMD 008459
(D.C. Superior Court filed Nov. 2, 2020) (affidavit in support of arrest describes defendant
throwing eggs at officers and building). Judd cannot claim that evidence of a defendant being
charged with a misdemeanor is itself evidence of disparate treatment even where no felony
charges were ever applicable.
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          Judd’s new comparator group also suffers a second flaw: it is a cherry-picked sample of

prosecutions from Summer 2020 and omits examples where federal charges were both applicable

and pursued by the government. For instance, in United States v. Jerritt Pace, No. 20-cr-104-RC,

(D.D.C. filed July 7, 2020), the government obtained a felony conviction where the defendant

assembled, ignited, and threw a Molotov cocktail at the sidewalk in front of a police station – an

event captured on video filmed by the defendant. See Government’s Sentencing Memorandum,

Dkt. at 45. Although “no one was hurt in the process and little damage was done,” the government

nonetheless brought felony charges and ultimately reached a disposition to a felony. Id. Given

that Judd’s conduct here exceeds Pace, the government has similarly sought felony charges against

him. 3

    II.      Judd’s New Authorities Fall Short.

          Judd’s reply cites three new decisions to advance his request for selective-prosecution

discovery. None supports his case.

          In United States v. Tuitt, 68 F. Supp. 2d 4 (D. Mass. 1999), the magistrate judge granted

discovery based on defense submissions that the government had prosecuted only persons of color,

and no white individuals, for crack-cocaine offenses in a particular federal court division. Id. at

7-9. Tuitt reveals the shortcomings in Judd’s presentation here. The defense there identified one

comparator group (individuals who commit drug offenses) and identified different charging

outcomes based on race. This case presents two disparate groups: individuals who committed

civil-disorder offenses and assaults in Oregon and D.C., and individuals who engaged in such



3
  This is one example of federal felony charges for crimes adjacent to the Summer 2020 protests.
See, e.g., United States v. Josue Rodas, 20-CR-148 (D.D.C. filed Aug. 4, 2020) (Dkt. 91)
(defendant broke bank window and then rummaged through interior); United States v. Kenneth
Deberry, 20-CR-260 (D.D.C. filed Nov. 24, 2020) (Dkt. 29) (defendant captured on video
punching a Million MAGA March attendee from whom a firearm was recovered upon his arrest.).
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crimes on January 6 as part of a targeted effort to overrun the U.S. Capitol Building and disrupt

Congress’s certification of the Presidential Election. Moreover, unlike Tuitt, the record here

contains no evidence (other than defense conjecture) that Judd’s political beliefs differed from the

defendants in the cited D.C. and Oregon cases. Judd cannot accordingly sustain an inference of

disparate treatment, much less one based on an improper factor.

       United States v. Wen Ho Lee, 99-cr-01417 (D.N.M. filed Dec. 10, 1999), is even further

afield. The district court in Lee directed the government to submit specific documents for in

camera review as the court evaluated the defendant’s request for selective-prosecution discovery.

But the court’s order (Dkt. 154) expressly declined to grant discovery at that juncture and the court

assured the government that the defense would not receive access to the in camera submissions.

A review of the docket in Lee also reveals that the court never granted the defense motion for

discovery, undercutting Judd’s reliance on this case.

       United States v. Paxton, 2014 U.S. Dist. LEXIS 56857 (N.D. Ill. Apr. 17, 2014), involved

a selective enforcement claim against the Bureau of Alcohol, Tobacco, Firearms, and Explosives

(“ATF”), not a selective prosecution claim against the government. As explained in Paxton, under

Seventh Circuit precedent, selective enforcement claims involve a modified burden for the defense

that can be met with “statistics alone.” Id. at 14. Furthermore, in Paxton, the defendant presented

a detailed analysis identifying the race of the suspects (all persons of color) targeted by ATF using

a law enforcement technique (a fake stash-house sting operation) over the preceding eight years.

Id. at 4. In this case, by contrast, Judd has not raised a selective enforcement claim. He instead

raised a selective prosecution claim; provided an incomplete, cherry-picked sample of dissimilar

D.C. and Oregon cases; and speculated (without evidence of the political viewpoints of any

defendant in his sample) that the prosecutors in his case targeted him based on political animus.
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That presentation falls well short of Judd’s burden. See United States v. Stone, 394 F. Supp. 3d 1,

31 (D.D.C. 2019) (“[A] defendant must provide something more than mere speculation or

‘personal conclusions based on anecdotal evidence.’”).

                                               Conclusion


       Because Judd has failed to carry his burden, he is not entitled to discovery on his selective-

prosecution claim and his motion should be denied.



                                              Respectfully submitted,

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